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                                                                                                      FILED
                                                                                         TARRANT COUNTY
                                                                                           1/5/2021 4:11 PM
                                            348-322690-21                               THOMAS A. WILDER
                                      NO.                                                  DISTRICT CLERK

  MARIA OLGA CASTILLO                             §    IN THE DISTRICT COURT
                                                  §
  Plaintiff,                                      §
                                                  §
                                                  §
  V.                                              §            JUDICIAL DISTRICT
                                                  §
                                                  §
  WALMART    STARCO,    LLC,                      §
  WALMART STORES TEXAS,LLC,                       §
  APEX MEDICAL USA CORP.,                         §
  APEX MEDICAL CORP., CAREX                       §
  HEALTH BRANDS, INC., and                        §
  COMPASS HEALTH BRANDS                           §
                                                  §
  Defendants.                                     §    OF TARRANT COUNTY,TEXAS

                            PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Maria Olga Castillo (hereinafter referred to as "Plaintiff"), complaining of

and about Walmart Starco, LLC, Wal-mart Stores Texas, LLC„ Apex Medical USA Corp., Apex

Medical Corp., Carex Health Brands, Inc., and Compass Health Brands (hereinafter collectively

referred to as "Defendants"), and for cause of action would show unto the Court the following:

                                 DISCOVERY-CONTROL PLAN

       1.      Plaintiff intends that discovery be conducted under Discovery Level 2.

                                            RELIEF

       2.      Plaintiff seeks monetary relief over $200,000 but not more than $1,000,000.00.

Tex. R. Civ. P. 47(c)(4).

                                            PARTIES

       3.      Plaintiff, Maria Olga Castillo, is an individual, living in Tarrant County, Texas at

                                              .

 PLAINTIFF'S ORIGINAL PETITION                                                                   I




                                         EXHIBIT C
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       4.      Defendant, Walmart Starco, LLC (hereinafter "Defendant Walmart Starco"), is a

limited liability company doing business in Texas that may be served with process via its registered

agent, C T Corporation System, at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       5.      Defendant, Wal-mart Stores Texas,LLC(hereinafter"Defendant Walmart Texas"),

is a corporation doing business in the State of Texas. Defendant, Walmart Stores East, Inc., may

be served with process via its registered agent, C T Corporation System, at 1999 Bryan Street,

Suite 900, Dallas, Texas 75201.

       6.      Defendant, Apex Medical USA Corp. (hereinafter "Defendant Apex USA"), is a

corporation doing business in the State of Texas that may be served with process via its registered

agent or the President ofthe corporation,PJ Hsueh, at 927 Mariner Street, Brea, California, 92821.

       7.      Defendant, Apex Medical Corp. (hereinafter "Defendant Apex Corp."), is a

corporation doing business in the State of Texas that may be served with process via its registered

agent or President of the corporation at 921 E. Amidon Street, Sioux Falls, South Dakota 57101.

       8.      Defendant, Carex Health Brands, Inc. (hereinafter "Defendant Carex"), is a

corporation doing busines in the State of Texas that may be served with process via its registered

agent, Matt Mcelduff, at 600 Cordwainer Drive, First Floor, Norwell, MA 02061.

       9.      Defendant, Compass Health Brands (hereinafter "Defendant Compass"), is a

corporation doing business in the State of Texas that may be served with process via its registered

agent, C T Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                                        JURISDICTION

       10.     The subject matter in controversy is within the jurisdictional limits of this Court.

This Court has jurisdiction over the parties because Defendants have purposefully availed

themselves to conduct business within the State of Texas. Moreover, the Court has jurisdiction


 PLAINTIFF'S ORIGINAL PETITION                                                                   2
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over the parties because Defendant Wal-Mart Stores Texas, LLC, is a resident of Texas.

                                              VENUE

        1 1.   Venue in Tarrant County is proper in this cause under Section 15.002(a)(1) of the

Texas Civil Practice and Remedies Code because all or a substantial part ofthe events or omissions

giving rise to this lawsuit occurred in this county.

                                              FACTS

        12.    In or around late 2019, Plaintiff purchased a Thermipaq hot/cold wrap and/or pad

from a Walmart Supercenter located at 4100 W Airport Freeway, Irving, Texas 75062. On or

around November 6, 2019, Plaintiff placed the Thermipaq in her microwave in order to heat the

item prior to using it. To the best of Plaintiff's recollection, she placed the Thermipaq in the

microwave for one minute. Upon opening her microwave door, while using the Thermipaq for the

purpose and in the manner in which it was intended to be used, the Thermipaq suddenly and

without warning exploded and the contents were projected onto the Plaintiff's chest causing severe

burns through her t-shirt and sweater.

       13.     Plaintiff immediately removed her clothing and noticed severe injuries to her chest

area. At all times relevant hereto, Plaintiff was using the Thermipaq as directed by the instructions

provided with the item.

       14.     Plaintiff experienced an onset of excruciating and debilitating pain and was taken

to City Hospital Emergency Care Center and Parkland Hospital Burn Unit where it was determined

that Plaintiff suffered multiple second-degree burns to her chest.

       15.     The explosion ofthe Thermipaq caused serious injuries to Plaintiffresulting in skin

deformities, loss of mobility, and constant pain. As such, Plaintiff seeks damages for pecuniary




 PLAINTIFF'S ORIGINAL PETITION                                                                    3
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loss, medical expenses, physical impairment, permanent disfigurement, pain and suffering, and

mental anguish.

   STRICT PRODUCTS LIABILITY—MANUFACTURING DEFECT CLAIM AS TO
        DEFENDANTS APEX USA,APEX CORP.,CAREX,AND COMPASS

        16.     Plaintiff incorporates by reference and re-alleges the paragraphs above the same as

if set out at length herein.

        17.     At all times material herein, Defendants Apex USA, Apex Corp., Carex, and/or

Compass, were engaged in the manufacturing of health-care products for sale to the general public

of the United States and the State of Texas, including the Thermipaq hot/cold wrap that caused

injuries to Plaintiff as complained of hereinabove. Defendants distribute the Thermipaq to retailers

throughout the United States.

        18.     At the time the Thermipaq left the Defendants' possession and control, it was in a

condition not contemplated by Plaintiff and was unreasonably dangerous to Plaintiff for its

intended and foreseeable use because the Thermipaq failed to conform to the applicable design

standards and specifications. Specifically, the Thermipaq, as manufactured, was unreasonably

dangerous to an extent beyond which would be contemplated by the Plaintiff in that the Thermipaq

exploded.

        19.     The Defendants knew and intended that the Thermipaq would be purchased and

used by consumers without inspection for defects in the product. Defendant also knew, or should

have known, that at the time their product left their control, the design, nature, and danger of the

Thermipaq could cause Plaintiff damage.

       20.      The defective condition of the Thermipaq was a producing cause of the damages

sustained by Plaintiffs as alleged herein and made the basis of this suit.

       21.     Plaintiff seeks damages within the jurisdictional limits of this Court.

 PLAINTIFF'S ORIGINAL PETITION                                                                   4
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 STRICT PRODUCTS LIABILITY—DESIGN DEFECT CLAIM AS TO DEFENDANTS
             APEX USA,APEX CORP.,CAREX,AND COMPASS

        22.      Plaintiff incorporates by reference and re-alleges paragraphs 1-21 the same as if set

out at length.

        23.      At all times material herein, Defendants, Apex USA, Apex Corp., Carex, and/or

Compass, were engaged in the business of selling the Thermipaqs made the basis of this lawsuit,

which were for sale to the general public throughout the United States and the State of Texas.

        24.      At the time that the Thermipaq left the Defendants' possession and control, they

were in a condition not contemplated by the Plaintiff and was unreasonably dangerous to the

Plaintifffor its intended and foreseeable use as designed, when taking into consideration the utility

ofthe product, the risk involved in its use, and that safer designs were available.

        25.      The defective design was unreasonably dangerous to an extent beyond which would

be contemplated by Plaintiff in that the Thermipaq exploded.

        26.      Defendants knew and intended that the Thermipaq would be purchased and used

by consumers without inspection for defects in the product. Defendants also knew, or should have

known,that at the time its product left its control, the design, nature, and danger ofthe Thermipaq

could cause Plaintiff damage.

        27.      The defective condition was a producing cause of the damages sustained by

Plaintiffas alleged herein and made the basis ofthis suit. Therefore, Plaintiff seeks damages within

the jurisdictional limits of this Court.

        STRICT PRODUCTS LIABILITY—FAILURE TO WARN CLAIM AS TO
          DEFENDANTS APEX USA,APEX CORP.,CAREX,AND COMPASS

       28.       Plaintiff incorporates by reference and re-alleges paragraphs 1-27 the same as if set

out at length herein.


 PLAINTIFF'S ORIGINAL PETITION                                                                     5
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        29.     At all times material herein, Defendants, Apex USA, Apex Corp., Carex, and/or

Compass, knew the Thermipaqs were defective and that they posed a high risk of producing

injuries during normal use, and that such result was potentially life threatening to each individual

to whom the product was sold.

        30.     Notwithstanding this knowledge, Defendants failed to give sufficient, conspicuous

notice to the purchasers of the grave risks associated with use of the product, and instead placed

and persisted in placing the defective product into the stream ofcommerce,thus causing harm and

injuries to Plaintiff.

        31.     Defendants were in a position to detect and warn consumers that the Thermipaqs

had a propensity to explode, but Defendants failed to do so.

        32.     Defendants' failure to warn Plaintiff ofthe dangerous and defective Thermipaq was

a proximate and producing cause of Plaintiffs damages as alleged herein. Therefore, Plaintiff

seeks damages within the jurisdictional limits of this Court.

   NEGLIGENCE CLAIM AS TO DEFENDANTS APEX USA,APEX CORP.,CAREX,
                           AND COMPASS

        33.     Plaintiff incorporates by reference and re-alleges paragraphs 1-32 above the same

as if set out at length herein.

        34.     Defendants, Apex USA, Apex Corp., Carex, and/or Compass, owed a duty to

exercise reasonable, prudent, and ordinary care in the sale of the Thermipaq through its agents,

representatives, and/or employees. Defendants' acts and/or omissions fell well below the

applicable standard of care and it breached its duty by negligently selling a defective Thermipaq

to Plaintiff, which subsequently exploded. Defendants also breached their duty by failing to timely

and effectively warn Plaintiffand by failing to act as a reasonably prudent seller would have under

the same or similar circumstances.

 PLAINTIFF'S ORIGINAL PETITION                                                                   6
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        35.      Defendants, Apex USA, Apex Corp., Carex, and/or Compass, intended for its

product to be used by the general public and sold the product at issue to Defendants, Walmart

Starco and/or Defendant Walmart Texas, for distribution into the stream of commerce. Plaintiff's

injuries resulted from Defendants' gross negligence, which entitles Plaintiffto exemplary damages

under Texas Civil Practices & Remedies Code Section 41.003(a).

        36.     Plaintiff would show that Defendant's acts and/or omissions when viewed

objectively from the standpoint of the actor at the time of its occurrence, involved an extreme

degree of risk, considering the probability and magnitude ofthe potential harm to others.

        37.     Defendants' possessed actual, subjective awareness of the risk involved, but

nevertheless proceeded with conscious indifference to the rights, safety, and welfare of others such

as Plaintiff. Defendants' breach of duty proximately caused Plaintiff's damages as alleged herein,

and as such Plaintiff seeks damages within the jurisdictional limits of this Court.

   NEGLIGENCE PER SE CLAIM AS TO DEFENDANTS APEX USA,APEX CORP.,
                        CAREX,AND COMPASS

        38.     Plaintiff incorporates by reference and re-alleges paragraphs 1-37 above the same

as if set out at length herein.

        39.     Defendants, Apex USA, Apex Corp., Carex, and/or Compass, violated Texas Civil

Practices & Remedies Code Section 82.005 by selling the Thermipaq to Plaintiff which had an

underlying defect in design.

       40.      Plaintiff would hereby show that a reasonably safer alternative design was available

to prevent the Thermipaq from exploding in a microwave.

       41.      The above-referenced statute is designed to protect a class of persons to which

Plaintiff belongs against the type of injury suffered by Plaintiff.

       42.      Defendants' violation of the statute was without legal excuse, and Defendants'

 PLAINTIFF'S ORIGINAL PETITION                                                                   7
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breach ofthe duty imposed by the statute proximately caused injury to Plaintiff, which resulted in

damages within the jurisdictional limits of this Court.

 BREACH OF WARRANTY CLAIM AS TO DEFENDANTS APEX USA,APEX CORP.,
                     CAREX,AND COMPASS

       43.      Plaintiff incorporates by reference and re-alleges paragraphs 1-42 above the same

as if set out at length herein.

        44.     Defendants, Apex USA, Apex Corp., Carex, and/or Compass, as the designer,

manufacturer, marketer, distributor, and/or seller of the Thermipaq product, expressly warranted

that the product was fit for its intended purpose, that it was of merchantable quality, and that it was

safe and fit for purposes intended when used in an ordinary manner under ordinary conditions.

        45.     Defendants breached such warranties by designing, manufacturing, distributing,

supplying, and/or selling the product in question when it was neither safe nor fit for the purposes

intended.

       46.      The product in question, Thermipaq, was not altered by Plaintiff in any way. The

product was defective when it left the exclusive control of the Defendants, and Defendants knew

the product would be used without additional inspection by Plaintiff. The Thermipaq was not safe

and fit for the purposes intended and Plaintiff did not receive the goods as warranted.

       47.      As a direct and proximate cause of Defendants' breach of warranty, Plaintiff has

suffered injuries and seeks damages within the jurisdictional limits of this Court.

   NEGLIGENCE PER SE CLAIM AS TO DEFENDANT WALMART STARCO AND
                         WALMART TEXAS

        48.     Plaintiff incorporates by reference and re-alleges paragraphs 1-47 above the same

as if set out at length herein.

       49.      Defendants, Walmart Starco and Walmart Texas, violated Texas Civil Practices &


 PLAINTIFF'S ORIGINAL PETITION                                                                      8
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Remedies Code Section 82.003 by selling a product, even though they did not manufacture said

product, Defendants knew was defective at the time the Defendants supplied the product and the

Plaintiff's harm resulted from said defect. As such, Plaintiff intends to prove that at the time of

sale Defendants, as large distributors of the product, had knowledge of the defect in the

Thermipaqs that caused Plaintiff's injuries.

        50.     The above-reference statute is designed to protect a class of persons to which

Plaintiff belongs against the type of injury suffered by Plaintiff.

        51.     Defendants' violation of the statute was without legal excuse, and Defendants'

breach ofthe duty imposed by the statute proximately caused injury to Plaintiff, which resulted in

damages within the jurisdictional limits of this Court.

  NEGLIGENCE MISREPRESENTATION CLAIM AS TO DEFENDANT WALMART
                  STARCO AND WALMART TEXAS

        52.     Plaintiff incorporates by reference and re-alleges paragraphs 1-51 above the same

as if set out at length herein.

        53.     Defendants, Walmart Starco and Walmart Texas, represented to Plaintiff that they

would provide a Thermipaq product that would conform to the qualities of the same or similar

product for use in a Thermipaq.

        54.     Defendants made the representations for the guidance of others, specifically the

Plaintiff, when she purchased the Thermipaq. Defendants' representations were a misstatement of

fact, and Defendant did not use reasonable care in communicating the information. Defendants

represented to Plaintiff that the batteries were safe for use and free of defects. Instead, the

Thermipaq exploded as Plaintiff was using it in a manner prescribed by Defendants.

        55.     Defendants' misrepresentation proximately caused injury to Plaintiff, which

resulted in Plaintiff suffering damages within the jurisdictional limits of this Court.

 PLAINTIFF'S ORIGINAL PETITION
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  COMMON LAW FRAUD CLAIM AS TO DEFENDANT WALMART STARCO AND
                       WALMART TEXAS

        56.     Plaintiff incorporates by reference and re-alleges paragraphs 1-55 above the same

as if set out at length herein.

        57.     Plaintiff would show that Defendants, Walmart Starco and Walmart Texas, made

material false representations to Plaintiff with knowledge oftheir falsity or with reckless disregard

ofthe truth with the intention that such representations be acted upon by Plaintiff, and that Plaintiff

relied upon these representations to her detriment.

        58.     Plaintiff would further show that Defendants concealed or failed to disclose

material facts within their knowledge,that Defendants knew that Plaintiff did not have knowledge

ofthe same and did not have equal opportunity to discover the truth, and that Defendants intended

to induce Plaintiff to enter into the transaction made the basis ofthis lawsuit by such concealment

or failure to disclose.

        59.     Defendants' fraud was a direct and proximate cause of Plaintiff's injuries, and

therefore Plaintiff seeks damages within the jurisdictional limits of this Court.

    BREACH OF IMPLIED WARRANTY CLAIM AS TO DEFENDANT WALMART
                    STARCO AND WALMART TEXAS

       60.      Plaintiff incorporates by reference and re-alleges paragraphs 1-59 above the same

as if set out at length herein.

       61.      Defendants, Walmart Starco and Walmart Texas, breached the implied warranties

of merchantability and fitness for a particular purpose when they sold the Thermipaq to Plaintiff.

       62.      At the time Defendants sold the Thermipaq to Plaintiff, Defendants implied

warranted that the Thermipaq was of a good and merchantable quality, free from defects and

Plaintiff could properly and safely use the Thermipaq for its intended and foreseeable purposes.


 PLAINTIFF'S ORIGINAL PETITION                                                                     10
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          63.   The Thermipaq was not of merchantable quality at the time it left the possession

and control of Defendants, nor was it fit for its particular and intended purpose. Specifically, the

Thermipaq was defective and unreasonably dangerous when used for its intended and particular

purpose when it exploded.

          64.   Defendants' breach of the implied warranties of merchantability and fitness for a

particular purpose were a proximate and producing cause ofPlaintiff's damages as alleged herein,

and Plaintiff seeks damages within the jurisdictional limits of this Court.

                                  EXEMPLARY DAMAGES

          65.   Plaintiff incorporates by reference and re-alleges paragraphs above the same as if

set out at length.

          66.   Defendants' acts or omissions described hereinabove, when viewed from the

standpoint of Defendants at the time ofthe acts or omissions, involved an extreme degree of risk,

considering the probability and magnitude ofthe potential harm to Plaintiffand others. Defendants

had actual, subjective awareness ofthe risk involved in the above described acts or omissions, but

nevertheless proceeded with conscious indifference to the rights, safety, or welfare ofPlaintiff and

others.

          67.   Based on the facts stated herein, Plaintiff requests exemplary damages be awarded

to Plaintiff from Defendants.

                      DAMAGES FOR PLAINTIFF,MARIA CASTILLO

          68.   Plaintiff incorporates by reference and re-alleges paragraphs 1-67 above the same

as if set out at length herein.

          69.   As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, Maria Castillo, was caused to suffer personal injuries, past and future medical expenses,


 PLAINTIFF'S ORIGINAL PETITION                                                                   II
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past and future pain and suffering, past and future mental anguish and to incur the following

damages:

               A.     Reasonable medical care and expenses in the past. These expenses were
                      incurred by Plaintiff for the necessary care and treatment of the injuries
                      resulting from the accident complained of herein and such charges are
                      reasonable and were usual and customary charges for such services in
                      Tarrant County, Texas;

               B.     Reasonable and necessary medical care and expenses which will in all
                      reasonable probability be incurred in the future;

               C.     Physical pain and suffering in the past;

               D.     Physical pain and suffering in the future;

               E.     Physical impairment in the past;

               F.     Physical impairment which, in all reasonable probability, will be suffered
                      in the future;

               G.     Mental anguish in the past;

               H.     Mental anguish in the future; and

               I.     Permanent disfigurement.

       70.     By reason of the above, Plaintiff, Maria Castillo, has suffered losses and damages

in a sum within the jurisdictional limits ofthe Court and for which this lawsuit is brought.

                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Maria Castillo, respectfully

prays that the Defendants be cited to appear and answer herein, and that upon a final hearing of

the cause,judgment be entered for Plaintiff against Defendants for damages in an amount within

the jurisdictional limits of the Court; exemplary damages, excluding interest, and as allowed by

Sec. 41.008, Chapter 41, Texas Civil Practice and Remedies Code; together with pre-judgment

interest (from the date of injury through the date ofjudgment) at the maximum rate allowed by


 PLAINTIFF'S ORIGINAL PETITION                                                                 12
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law; post-judgment interest at the legal rate, costs of court; and such other and further relief to

which Plaintiff may be entitled at law or in equity.

                                              Respectfully submitted,


                                             By: /s/James M Murrell
                                             Jim R. Ross
                                             State Bar No. 24010362
                                             James M. Murrell
                                             JIM ROSS LAW GROUP,P.C.
                                             2221 E. Lamar Blvd., Suite 800
                                             Arlington, Texas 76006
                                             Telephone: (817)275-4100
                                             Facsimile: (817)275-4106
                                             Email: litigationgimrosslaw.com

                                             Attorneysfor Plaintiff
                                             Maria Castillo




                   PLAINTIFF HEREBY DEMANDS TRIAL BY JURY




PLAINTIFF'S ORIGINAL PETITION                                                                  13
                                                                                    348-322690-21                                                                            FILED
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                 Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                                 Page 14 of 109 PageID   25 9:51 AM
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                                                                            THE STATE OF TEXAS
                                                                                                                                                                 DISTRICT CLERK

                                                                   DISTRICT COURT, TARRANT COUNTY
                                                                                         CITATION                                Cause No. 348-322690-21
                                                             MARIA OLGA CASTILLO
                                                                                             vs.
                                                          WALMART STARCO, LLC, ET AL

           TO: WALMART STARCO LLC
                                                                                   B/S REG AGENT-CT CORPORATION SYSTEM 1999 BRYAN ST STE 900 DALLAS, TX 75201-




          You said DEFENDANT are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL PETITION
          at or before lO o'clock A.M. of the Monday next after
          the expiration of 20 days after the date of service hereof before the 348th District Court
          ,100 N CALHOUN, in and for Tarrant County, Texas, at the Courthouse in the City of Fort worth, Tarrant County, Texas
          said PLAINTIFF being


          MARIA OLGA CASTILLO


          Filed in said Court on January 5th, 2021 Against
          WALMART STARCO LLC, WAL-MART STORES TEXAS LLC, APEX MEDICAL USA CORP, APEX MEDICAL CORP, CAREX HEALTH BRANDS INC,
          COMPASS HEALTH BRANDS
          For suit, said suit being numbered 348-322690-21 the nature of which demand is as shown on said
          PLAINTIFF'S ORIGINAL PETITION                a copy of which accompanies this citation.



                                                                                     JAMES M MURRELL
                                                                       Attorney for MARIA OLGA CASTILLO Phone No. (817)275-4100
                                                                       Address      2221 E LAMAR BLVD STE 800 ARLINGTON, TX 76006
                   Thomas A. Wilder                       , Clerk of the District court of Tarrant County, Texas. Given under my hand and the seal
          of said Court, at office in the                                                                                                              • • :;;;:.:;��••.
                                                                                                                                                                    •         A CERTIFIED COPY
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                                                                                                                                                                     s.•· BY: /al l•n Pfisterer
                                                                                                                                                             ··········
          NOTICE: You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
          clerk who issued this citation by 10:00 AM. on the Monday next following the expiration of twenty days after you were
          served this citation and petition, a default judgment may be taken against you.
                     Thomas A. Wilder, Tarrant County District Clerk, 100 N CALHOUN, FORT WORTH TX 76196-0402


          Receiv<;d this Citation on the
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                               CITATION


                  Cause No. 348-322690-21
      MARIA OLGA CASTILLO

                           vs.
      WALMART STARCO, LLC, ET AL

                     ISSUED
     This 6th day of January, 2021

             Thomas A. Wilder
        Tarrant County District Clerk
              100 N CALHOUN
        FORT WORTH TX 76196-0402

     By                   IAN PFISTERER Deputy


     JAMES M MURRELL
     Attorney for: MARIA OLGA CASTILLO
     Phone No. (817)275-4100
     AD DRESS: 2221 E LAMAR BLVD STE 800

              ARLINGTON, TX 76006

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                   Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                              Page 16 of 109   PageID  27 A. WILDER
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                                                            THE STATE OF TEXAS
                                                   DISTRICT COURT, TARRANT COUNTY
                                                                      CITATION                           Cause No. 348-322690-21
                                             MARIA OLGA CASTILLO
                                                              VS.
                                            WALMART STARCO, LLC, ET AL

               TO: WAL-MART STORES TEXAS LLC
                                                                B/S REG AGENT-CT CORPORATION SYSTEM 1999 BRYAN ST STE 900 DALLAS, TX 75201-




           You said DEFENDANT are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL PETITION
           at or before 10 o'clock A.M. of the Monday next after
           the expiration of 20 days after the date of service hereof before the 348th District Court
           ,100 N CALHOUN, in and for Tarrant County, Texas, at the Courthouse in the City of Fort Worth, Tarrant County, Texas
           said PLAINTIFF being


           MARIA OLGA CASTILLO


           Filed in said Court on January 5th, 2021 Against
           WALMART STARCO LLC, WAL-MART STORES TEXAS LLC, APEX MEDICAL USA CORP, APEX MEDICAL CORP, CAREX HEALTH BRANDS INC,
           COMPASS HEALTH BRANDS
           For suit, said suit being numbered 348-322690-21 the nature of which demand is as shown on said
           PLAINTIFF'S ORIGINAL PETITION   a copy of which accompanies this citation.



                                                                       JAMES M MURRELL
                                                         Attorney for MARIA OLGA CASTILLO Phone No. (817)275-4100
                                                         Address      2221 E LAMAR BLVD STE 800 ARLINGTON, TX 76006

                                                                                                        r----
                    Thomas A. Wilder        , Clerk of the District Court of Tarrant County, Texas. Given under my hand and the seal
           of said Court, at office in the City of Fort Worth, this the 6th day of Janua        , 21                   <�'�;M�:;;_-._
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           NOTICE: You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
           clerk who issued this citation by 10:00 AM. on the Monday next following the expiration of twenty days after you were
           served this citation and petition, a default judgment may be taken against you.
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                                 Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21   Page 17 of 109 PageID 28
                CITATION


        Cause No. 348-322690-21
  MARIA OLGA CASTILLO

             vs.
  WALMART STARCO, LLC, ET AL

           ISSUED
 This 6th day of January, 2021

       Thomas A. Wilder
   Tarrant County District Clerk
         100 N CALHOUN
   FORT WORTH TX 76196-0402

 By          IAN PFISTERER Deputy


 JAMES M MURRELL
 Attorney for: MARIA OLGA CASTILLO
 Phone No. (817)275-4100
 ADDRESS: 2221 E LAMAR BLVD STE 800

      ARLINGTON, TX 76006

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                                                                 DISTRICT COURT, TARRANT COUNTY
                                                                                      CITATION                                       Cause No. 348-322690-21
                                                         MARIA OLGA CASTILLO
                                                                          VS.
                                                        WALMART STARCO, LLC, ET AL

             TO: COMPASS HEALTH BRANDS
                                                                               B/S REG AGENT-CT CORPORATION SYSTEM 1999 BRYAN ST STE 900 DALLAS, TX 75201-




            You said DEFENDANT are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL PETITION
            at or before 10 o'clock A.M. of the Monday next after
            the expiration of 20 days after the date of service hereof before the 348th District Court
            ,100 N CALHOUN, in and for Tarrant County, Texas, at the Courthouse in the City of Fort Worth, Tarrant County, Texas
            said PLAINTIFF being


            MARIA OLGA CASTILLO


            Filed in said Court on January 5th, 2021 Against
            WALMART STARCO LLC, WAL-MART STORES TEXAS LLC, APEX MEDICAL USA CORP, APEX MEDICAL CORP, CAREX HEALTH BRANDS INC,
            COMPASS HEALTH BRANDS
            For suit, said suit being numbered 348-322690-21 the nature of which demand is as shown on said
            PLAINTIFF'S ORIGINAL PETITION a copy of which accompanies this citation.



                                                                                 JAMES M MURRELL
                                                                   Attorney for MARIA OLGA CASTILLO Phone No. (817)275-4100


                                                                                                                                                            .�;�:;.,�..;:.;_.
                                                                   Address      2221 E LAMAR BLVD STE 800 ARLINGTON, TX 76006
                          Thomas A. Wilder              , Clerk of the District Court of Tarrant County, Texas. Given under my hand and the seal




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            NOTICE: You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
            clerk who issued this citation by 10:00 AM. on the Monday next following the expiration of twenty days after you were
            served this citation and petition, a default judgment may be taken against you.
                            Thomas A. Wilder, Tarrant County District Clerk, 100 N CALHOUN, FORT WORTH TX 76196-0402

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                CITATION


        Cause No. 348-322690-21
  MARIA OLGA CASTILLO

             vs.
  WALMART STARCO, LLC, ET AL

           ISSUED
 This 6th day of January, 2021

       Thomas A. Wilder
   Tarrant County District Clerk
         100 N CALHOUN
   FORT WORTH TX 76196-0402

 By          IAN PFISTERER Deputy


 JAMES M MURRELL
 Attorney for: MARIA OLGA CASTILLO
 Phone No. (817)275-4100
 ADDRESS: 2221 E LAMAR BLVD STE 800

      ARLINGTON, TX 76006

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                                                       AFFIDAVIT OF SERVICE                                                                          THOMAS A. WILDER
                                                                                                                                                        DISTRICT CLERK


               State of Texas                                                      County of Tarrant                                           348th Judicial District Court

               Case Number: 348-322690-21

               Plaintiff:
               Maria Olga Castillo
               vs.
               Defendant:
               Walmart Starco, LLC, Walmart Stores Texas, LLC, Apex Medical USA Corp., Apex
               Medical Corp., Carex Health Brands, Inc., and Compass Health Brands

               For:
               Jim Ross Law Group
               2221 East Lamar Blvd.
               Suite 800
               Arlington, TX 76006

               Received by Malone Process Service, LLC on the 12th day of January, 2021 at 11 :20 am to be served on Carex Health Brands,
               Inc. by serving the Texas Secretary of State, 1019 Brazos, Austin, Travis County, TX 78701.

               I, Mike Techow, being duly sworn, depose and say that on the 12th day of January, 2021 at 3:30 pm, I:

               delivered to REGISTERED AGENT by delivering a true copy of the Two Copies of Citation and Plaintiff's Original Petition
               with $55.00 Texas Secretary of State Fee with the date of service endorsed thereon by me, to: Web Jerome, The Texas
               Secretary of State as Authorized Agent at the address of: 1019 Brazos, Austin, Travis County, TX 78701 on behalf of Carex
               Health Brands, Inc., and informed said person of the contents therein, in compliance with state statutes.


               I certify that I am over the age of 18, of sound mind, have no interest in the above action. The facts stated in this affidavit are within
               my personal knowledge and are true and correct.




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               Subscribed and Sworn to before me on the 13th day                                                            PSC-1215, Exp. 7/31/2022
               of January, 2021 by the ffiant who is personally
               known to me.                                                                                                 Malone Process Service, LLC
                                                                                                                            P.O. Box 720040
                                                                                                                            Dallas, TX 75372
                                                                                                                            (877) 997-3783

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 Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                                   Page 21 of 109                   1/15/2021
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                                                                                                                                    THOMAS A. WILDER
                                                                                                                                      DISTRICT CLERK


  Attorney or Party Without Attorney [Name, State Bar number, and address)
  James Murrell
  2221 E. Lamar Blvd., Suite 800
  Arlington, TX 76006

  Telephone No: 817/275-4100 Fax No.:
  E-mail Address (optional):
       Attorney for (Name): Maria Olga Castillo


  Plaintiff/Petitioner:         Maria Olga Castillo

  Defendant/Respondent: Walmart Starco, LLC, et al.
                                  PROOF OF SERVICE                                                  Cause Number:
      -     --                                                                                      348-322690-21                   --
 1.          At the time of service I was at least 18 years of age and not a party to this action.

2.           I served copies of the CITATION AND PLAINTIFF'S ORIGINAL PETITION                            by personal service on

3.           a. Party Served: APEX MEDICAL USA CORP.
             b. Person served: Fang Yuchu, agent

4.           Address where the party was served: 927 Mariner St., Brea, CA 92821

5.       I served the party:
         a. by personal service. I personally delivered the documents listed in item 2 to the party or person
authorized to received process for the party (1) on: January 7, 2021 (2)at: 2:00 p.m.




Person Serving:                                                                Fee for Service

CHRIS HUTCHINSON                                                               0 Not a registered California Process Server
Marathon Attorney Service                                                      � Registered California Process Server
P.O. Box 666                                                                         (1) l1sl Owner
Lakewood, CA 90713                                                                   (2) � Registration No. (Specify): 355
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I declare under penalty of perjury under the laws of the State of California that th



Date: January 8, 2021
A notary public or other officer completing this certificate verifies only the identity of the individual who signed the document to which this
certificate, and not the truthfulness, accuracy, or validity of that document
State of California
County of Los Angeles


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                                                             PROOF OF SERVICE
         Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                               Page 22 of 109 PageID 33

                                                 THE STATE OF TEXAS
                                        DISTRICT COURT, TARRANT COUNTY
                                                               CITATION                           Cause No. 348-322690-21
                                    MARIA OLGA CASTILLO
                                                                 vs.
                                 WALMART STARCO, LLC, ET AL

TO: APEX MEDICAL USA CORP
                                                     B/S REG AGENT-PJ HSUEH 927 MARINER ST BREA, CA 92821-




You said DEFENDANT are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL PETITION
at or before 10 o'clock A.M. of the Monday next after
the expiration of 20 days after the date of service hereof before the 348th District Court
,100 N CALHOUN, in and for Tarrant Cowity, Texas, at the Courthouse in the City of Fort Worth, Tarrant Cowity, Texas
said PLAINTIFF being


MARIA OLGA CASTILLO


Filed in said Court on January 5th, 2021 Against
WAI.MART STARCO LLC, WAL-MART STORES TEXAS LLC, APEX MEDICAL USA CORP, APEX MEDICAL CORP, CAREX HEALTH BRANDS INC,
COMPASS HEALTH BRANDS
For suit, said suit being numbered 348-322690-21 the nature of which demand is as shown on said
PLAINTIFF'S ORIGINAL PETITION   a copy of which accompanies this citation.



                                                          JAMES M MURRELL
                                            Attorney for MARIA OLGA CASTILLO Phone No. (817)275-4100
                                            Address      2221 E LAMAR BLVD STE 800 ARLINGTON, TX 76006
         Thomas A. Wilder       , Clerk of the District Court of Tarrant Cowity, Texas. Given wider my hand and the seal
of said Court, at office in the City of Fort Worth, this the 6th day of Januar ,                                  ..� ;;,;;��-..       ACERTIFIEDCOPY
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                                                                                 IAN PFISTERER                      ••?.•••••• •
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NOTICE: You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
clerk who issued this citation by 10:00 AM. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a default judgment may be taken against you.
          Thomas A. Wilder, Tarrant County District Clerk, 100 N CALHOUN, FORT WORTH TX 76196-0402

                                   OFFICER'S RETURN *34832269021000005*
Received this Citation on the
                     day of _______ _ _____ , __ at ___ o'clock _M; and executed at
___ _______ ___ ____ within the cowity of ________ , State of ____ at ____ o'clock _M
on the ____ day of __ ____ _ __ , __ by delivering to the within named (Def.):
defendant(s), a true copy of this Citation together with the accompanying copy of PLAINTIFF'S ORIGINAL PETITION
, having first endorsed on same the date of deli'very.



            Authorized Person/Constable/Sheriff:
         County of ______ ____ __ _ State of__ ___                           By ____ _____ _______ Deputy
Fees$ ____
State of _______ County of                                                 (Must be verified if served outside the State of Texas)
Signed and sworn to by the said __ _______________ before me this __ day of
to certify which witness my hand and seal of office
(Seal)
                                            County of __________ , State of
                            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21   Page 23 of 109 PageID 34
                CITATION


        Cause No. 348-322690-21
  MARIA OLGA CASTILLO

             vs.
  WALMART STARCO, LLC, ET AL

           ISSUED
 This 6th day ofJanuary, 2021

        Thomas A. Wilder
   Tarrant County District Oerk
         100 N CALHOUN                                       ,'


   FORT WORTH TX 76196-0402

 By         IAN PFISTERER Deputy


 JAMES M M URRELL
 Attorney for: MARIA OLGA CASTILLO
 Phone No. (817)275-4100
 ADDRESS: 2221 E LAMAR BLVD STE 800

      ARLINGTON, TX 76006

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1/14/2021                                 Business Search - Business Entities - Business Programs I California Secretary of State


Alex Padilla
California Secretary of State


     0, Business Search - Entity Detail
     The California Business Search is updated daily and reflects work processed through Wednesday, January 13, 2021. Please
     refer to document Processing Times for the received dates of filings currently being processed. The data provided is not a
     complete or certified record of an entity. Not all images are available online.

     C2382144             APEX MEDICAL USA CORP.

        Registration Date:                                                     10/12/2001
        Jurisdiction:                                                          CALIFORNIA
        Entity Type:                                                           DOMESTIC STOCK
        Status:                                                                ACTIVE
        Agent for Service of Process:                                          FANG YU CHU
                                                                               927 MARINER ST
                                                                               BREA CA 92821
        Entity Address:                                                        927 MARINER ST
                                                                               BREA CA 92821
        Entity Mailing Address:                                                927 MARINER ST
                                                                               BREA CA 92821

        [ t! Certificate of Status


     A Statement of Information is due EVERY year beginning five months before and through the end of October.


       Document Type                                                lf   File Date                               !f   PDF

       SI-NO CHANGE                                                      07/30/2020


       SI-COMPLETE                                                       12/02/2019


       REGISTRATION                                                      10/12/2001



     * Indicates the information is not contained in the California Secretary of State's database.

            • If the status of the corporation is "Surrender," the agent for service of process is automatically revoked. Please refer to
              California Corporations Code section 2114 for information relating to service upon corporations that have surrendered.
            • For information on checking or reserving a name, refer to Name AvailabilitY.,
            • If the image is not available online, for information on ordering a copy refer to Information Reguests.
            • For information on ordering certificates, status reports, certified copies of documents and copies of documents not
              currently available in the Business Search or to request a more extensive search for records, refer to Information
              Reguests.
            • For help with searching an entity name, refer to Search Ti�.
            • For descriptions of the various fields and status types, refer to FreguentlY. Asked Questions.

     i Modify Search                New Search               Back to Search Results




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 Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                    Page 25 of 109 PageID 36
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                                                                                           TARRANT COUNTY
                                                                                            1/29/2021 9:03 AM
                                                                                          THOMAS A. WILDER
                                    CAUSE NO. 348-322690-21                                  DISTRICT CLERK

 MARIA OLGA CASTILLO                                  §             IN THE DISTRICT COURT
                                                      §
 VS.                                                  §
                                                      §
 WALMART STARCO, LLC,                                 §             TARRANT COUNTY, TEXAS
 WALMART STORES TEXAS, LLC,                           §
 APEX MEDICAL USA CORP.,                              §
 APEX MEDICAL CORP., CAREX                            §
 HEALTH BRANDS, INC., and                             §
 COMPASS HEALTH BRANDS                                §             348TH JUDICIAL DISTRICT

                    WAL-MART DEFENDANTS’ ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW, Walmart Starco, LLC and Wal-Mart Stores Texas, LLC (Wal-Mart Stores

Texas, LLC is the only necessary party), two Defendants in the above-entitled and numbered

cause, and file this their Original Answer to Plaintiff’s Original Petition, and would respectfully

show the Court as follows:

                                         I. GENERAL DENIAL

       Defendants generally deny the allegations contained in Plaintiff’s Original Petition,

demand strict proof thereof, and say this is a matter for jury decision.

                                   II. REQUEST FOR DISCLOSURE

       Pursuant to TEXAS RULES OF CIVIL PROCEDURE 193.7, Defendants provide notice that they

intend to use Plaintiff’s production of all documents, tangible things and discovery items produced

in response to discovery in any pre-trial proceeding or at trial.

                                         III. JURY DEMAND

       Defendants further demand a trial by jury.

       WHEREFORE, PREMISES CONSIDERED, Defendants pray that upon final hearing

hereof, Plaintiff take nothing by this suit, that Defendants recover their costs, and that Defendants

have such other and further relief, both at law and in equity, to which they may be justly entitled.

WAL-MART DEFENDANTS’ ORIGINAL ANSWER                                                          PAGE 1
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                                                 Respectfully submitted,

                                                 COBB MARTINEZ WOODWARD PLLC
                                                 1700 Pacific Avenue, Suite 3100
                                                 Dallas, TX 75201
                                                 (214) 220-5208 (direct phone)
                                                 (214) 220-5258 (direct fax)


                                                 By:          /s/ Bevan Rhine
                                                        BEVAN RHINE
                                                        Texas Bar No. 24036265
                                                        brhine@cobbmartinez.com

                                                 ATTORNEYS FOR DEFENDANTS
                                                 WALMART STARCO, LLC AND
                                                 WAL-MART STORES TEXAS, LLC



                                 CERTIFICATE OF SERVICE

        I certify a true and correct copy of this document has been forwarded to the following
counsel of record either by e-service, telefax, electronic mail, and/or regular U.S. mail on this 29th
day of January, 2021:

         James M. Murrell
         Jim R. Ross
         Jim Ross Law Group, PC
         2221 E. Lamar Blvd., Suite 800
         Arlington, TX 76006
         817.275.4100 / fax 817.275.4106
         litigation@jimrosslaw.com

                                                    /s/ Bevan Rhine
                                                 BEVAN RHINE




WAL-MART DEFENDANTS’ ORIGINAL ANSWER                                                           PAGE 2
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                                                                                                        FILED
                                                                                           TARRANT COUNTY
                                                                                            2/1/2021 12:00 AM
                                     Cause No. 348-322690-21                              THOMAS A. WILDER
                                                                                             DISTRICT CLERK



                                                §       In the District Court
Maria Olga Castillo,                            §
                                                §
Plaintiff,                                      §
                                                §        348th Judicial District
v.                                              §
                                                §
Walmart Starco, LLC,                            §
Walmart Stores Texas, LLC                       §       Tarrant County, Texas
Apex Medical USA Corp.                          §
Apex Medical Corp., Carex Health                §
Brands, Inc. and Compass Health Brands          §
                                                §
Defendants

       DEFENDANT APEX MEDICAL USA CORP.’S SPECIAL APPEARANCE AND
                          MOTION TO DISMISS


 TO THE HONORABLE JUDGE OF SAID COURT:

         Reserving all rights and defenses, Defendant Apex Medical USA Corp., by and through

 its counsel of record, Tracy Lin, hereby makes this special appearance limited to the filing of the

 instant Motion to Dismiss for lack of personal jurisdiction. This Motion is based on Tex. R. Civ.

 P. 120a, pleadings and papers filed herein, and attached exhibits.

                                        INTRODUCTION
         Plaintiff’s Petition does not make a prima facie showing of personal jurisdiction over

 Apex Medical USA Corp. Plaintiff alleges that in November 2019, a Thermipaq hot/cold wrap

 and/or pad (the “Product”), after being heated in a microwave oven for one minute, exploded

 causing injuries to Plaintiff’s chest. There is no verification that Apex Medical USA Corp.

 manufactures, distributes or sells the Product. There is no allegation concerning any act of Apex

 Medical USA Corp. that subjects it to the jurisdiction of Texas. Simply having a product under

 Plaintiff’s mistaken belief in the state of Texas is not sufficient to confer jurisdiction. Since

                                                    1
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Plaintiff’s Petition allegations establishing jurisdiction are all based on mistaken beliefs,

Plaintiff’s Petition against Apex Medical USA Corp. should be dismissed.

   I. FACTS AND PROCEDURAL HISTORY

       Plaintiff filed her Petition on or about January 5, 2021. See Exhibit A – Petition.

Plaintiff alleges that Maria Castillo, a resident of Tarrant County, Texas, suffered substantial

damage to her chest due to the Product in November, 2020. See Exhibit A, ¶¶ 12.

       Plaintiff’s Petition alleges that Apex Medical USA Corp. along with other defendants,

were engaged in the manufacturing of health-care products for sale to the general public of the

United States and the state of Texas. Exhibit A, ¶ 17.

       Plaintiff’s only allegations with respect to Apex Medical USA Corp.’s alleged

connections with Texas are that Apex Medical USA Corp. manufactured the Product for sale in

Texas. The allegation is untrue. Apex Medical USA Corp. does not manufacture, distribute or

sell the Product. Further, Apex Medical USA Corp. is not registered to do business in Texas and

never has been. See Declaration of Fangyu Chu, attached hereto as Exhibit “B.” Apex Medical

USA Corp. does not manufacture, sell, or conduct business in Texas sufficient to be subject to

personal jurisdiction there. Apex Medical USA Corp. has never shipped any Thermipad hot/cold

wrap at issue directly to Texas because it does not sell products like this. Apex Medical USA

Corp. does not have any offices or agents in Texas. Apex Medical USA Corp. does not advertise

in Texas. Apex Medical USA Corp. conducts its operations in California. Its products are air

mattress, masks, CPAP device and autoclaves, not hot/cold pads.




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       Specifically, as affirmed by Apex Medical USA Corp. in the declaration by Fangyu Chu

annexed hereto, Apex Medical USA Corp. is not “at home in Texas” and does not have sufficient

minimum contacts in Texas:


      Apex Medical USA Corp.’s headquarters and principal place of business is in California.

      Apex Medical USA Corp. does not have any offices other than in California in the United

       States.

      Apex Medical USA Corp.’s products are made in Asia.

      Apex Medical USA Corp. only ships products in California.

      Apex Medical USA Corp. has never sold or shipped hot/cold pad.

      The subject product at issue in this instant matter is sold by other defendants in this

       matter. See Exhibit C for a true and correct copy of the advertisements of the subject

       product by other defendants. Exhibit D is true and correct copy of the products sold by

       Apex Medical USA Corp.

      Apex Medical USA Corp. has no property or agents in Texas.

      Apex Medical USA Corp. does not have employees in Texas.

      Apex Medical USA Corp. is not licensed to do business in Texas.

      Apex Medical USA Corp. has no contracts or agreements in Texas or any contracts or

       agreements controlled by Texas law.

      Apex Medical USA Corp. does not have any bank accounts in Texas.

      Apex Medical USA Corp. has never paid taxes in Texas.

      Apex Medical USA Corp. does not advertise or market the subject product at issue to

       Texas.



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      Apex Medical USA Corp. did not intend for the product at issue to be used or sold in

       Texas.

      Apex Medical USA Corp. did not place the product at issue into the stream of commerce

       with the expectation that it would be used in Texas.

      Apex Medical USA Corp. simply does not have any systematic and continuous activities

       in Texas to render it “at home” in this state.

      Apex Medical USA Corp. has never sued or been sued in state or federal courts in the

       State of Texas.

      Apex Medical USA Corp. does not consent to jurisdiction over it by the Courts of the

       State of Texas and Federal Courts venued in Texas in general or the Tarrant County

       District Court in particular.

See Exhibit B.

       The instant motion is timely as Plaintiff has failed to file any affidavit of service to date

indicating that proper service was made upon Apex Medical USA Corp. Thus, service has not

been perfected.

   II. LEGAL ARGUMENT

       This Court lacks personal jurisdiction over Apex Medical USA Corp. Apex Medical USA

Corp. does not have a sufficient Texas presence to establish person jurisdiction. It does not, and

has never been authorized to, conduct business in Texas. The fact that Plaintiff’s mistaken belief

of a Defendant’s product made its way to Texas is simply insufficient to confer jurisdiction.

Apex Medical USA Corp. did not avail itself of this forum and cannot be forced to litigate here.




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       This Court can only exercise personal jurisdiction over Apex Medical USA Corp. in one

of two ways, general jurisdiction or specific jurisdiction. Apex Medical USA Corp., a foreign

corporation, may be subject to Texas’ general jurisdiction and may be amenable to suit on any

cause of action in Texas if it has sufficient continuous and systematic contacts to be considered

“present” in Texas. Goodyear Dunlop Tires Operations, S.A. v. Brown, 131 S. Ct. 2846, 2851

(2011). Apex Medical USA Corp. may be subject to Texas’s specific jurisdiction based on

certain minimum contacts if it satisfies the Long-Arm statute of Texas, in that the activities must

arise out of or relate to the cause of action in the case. Tex. Civ. Prac. & Rem. Code Ann. §

17.042(1); Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472-73 (1985); Daimler AGG v.

Bauman, 571 U.S. 117 (2014). The Texas Long-Arm statute states:

               In addition to other acts that may constitute doing business, a nonresident
               does business in this state if the nonresident:
                       (1) contracts by mail or otherwise with a Texas resident and either
                       party is to perform the contract in whole or in part in this state;
                       (2) commits a tort in whole or in part in this state; or
                       (3) recruits Texas residents, directly or through an intermediary
                       located in this state, for employment inside or outside this state.

Tex. Civ. Prac. & Rem. Code Ann. § 17.042(1).

       “The Texas long-arm statute authorizes personal jurisdiction over a nonresident

defendant who ‘does business’ in Texas, Tex. Civ. Prac. & Rem Code Ann. § 17.042(1), but the

statute’s broad, doing-business language reaches only as far as these federal due-process criteria

permit: (1) the defendant must have established minimum contacts with the forum state, and (2)

the assertion of jurisdiction must comport with ‘traditional notions of fair play and substantial

justice.’” IRA Res., Inc. v. Griego, 221 S.W.3d 592, 596 (Tex. 2007); see International Shoe Co.

v. Washington, 326 U.S. 310 (1945).




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       Upon review of this special appearance, it is the trial court who shall resolve any

questions of fact relevant to personal jurisdiction. Am. Type Culture Collection, Inc. v. Coleman,

83 S.W.3d 801 (Tex. 2002). It is the Plaintiff’s burden to allege “allegations sufficient to bring a

nonresident defendant within the personal jurisdiction of the State of Texas.” Arth Brass &

Aluminum Castings, Inc. v. Harsco Corp., 2004 Tex. App. Lexis 681 (Tex. App. 2004). A

defendant can establish its entitlement to dismissal for lack of personal jurisdiction by negating

all bases therefore with credible evidence. MGM Grant Hotel v. Castro, 8 S.W.3d. 403 (Tex.

App. 1999). The mere allegation that a tort occurred in Texas will not be sufficient to establish

jurisdiction under the Long Arm Statute. Michiana Easy Livin’ Country, Inc. v. Holten, 168

S.W.3d 777 at 788 (Tex. 2005). Defendant Apex Medical USA Corp. has submitted credible

evidence of the lack of personal jurisdiction by way of declaration.

       a. THIS COURT LACKS GENERAL JURISDICTION

       General jurisdiction occurs where a defendant is held to answer in a forum for causes of

action unrelated to the defendant’s forum activities. Carpenter v. Exelon Corp., 2007 Tex. App.

LEXIS 8348 (Tex. App. 2007). “General jurisdiction may be asserted when the cause of action

does not arise from or relate to the nonresident defendant’s purposeful conduct within the forum

state but there are continuous and systematic contacts between the nonresident defendant and the

forum state. When general jurisdiction is asserted, the minimum contacts analysis is more

demanding and requires a showing of substantial activities in the forum state.” Guardian Royal

Exchange Assur., Ltd. v. English China Clays, P.L.C., 815 S.W.2d 223, 228 (Tex. 1991); see

Schlobohm v. Schapiro, 784 S.W.2d 355, 357 (Tex. 1990).

       The Petition is devoid of any facts that would implicate general jurisdiction. Simply put,

Apex Medical USA Corp. is a California company, selling products that have nothing to do with

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the hot/cold pad that injures the Plaintiff. Apex Medical USA Corp. is not “at home” in Texas

and does not have a regular presence there sufficient to render it subject to general jurisdiction.

       b. THIS COURT LACKS SPECIFIC JURISDICTION

       As this Court lacks general jurisdiction, the Court may still exercise jurisdiction if the

party’s contacts with Texas relate to the conduct underlying the incident at issue in the Petition.

“When specific jurisdiction is asserted, the minimum contacts analysis focuses on the

relationship among the defendant, the forum, and the litigation. Purposeful availment has at least

three aspects. First, only the defendant’s forum-state contacts matter, not anyone else’s. Second,

the contacts must be purposeful, not merely random, isolated, or fortuitous. Third, a nonresident

defendant must seek some benefit, advantage, or profit by ‘availing’ itself of the jurisdiction,

thus impliedly consenting to its laws.” IRA Res., 221 S.W.3d at 596; see Michiana Easy Livin’

Country, Inc. v. Holten, 168 S.W.3d 777, 785 (Tex. 2005).

       “Although not an independent component of the minimum contacts analysis, the concept

of ‘foreseeability’ is implicit in the requirement that there be a ‘substantial connection’ between

the nonresident defendant and Texas arising from action or conduct of the nonresident defendant

purposefully directed toward Texas.” Guardian Royal Exchange Assur., Ltd., 815 S.W.2d at 227;

see World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286 (1980). Further, for specific

jurisdiction to exist over Defendant by a Texas Court, the underlying cause of action must arise

from Yoau’s purposeful contacts with the forum and the cause of action must arise from those

contacts. Am. Type Culture Collection, 83 S.W.3d at 806; Moki Mac River Expeditions v.

Drugg, 221 S.W.3d 569, 579 (Tex. 2007).




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       Plaintiff’s Petition was founded on its mistaken belief that Apex Medical USA Corp. sells

cold/hot pad. The Petition does not specify what business Apex Medical USA Corp. is alleged to

have conducted in Texas. This is insufficient to establish purposeful contact with Texas by Apex

Medical USA Corp.. The subject Product was sold by other Defendants in the suit, not Apex

Medical USA Corp. See Exhibit B.              The acts of a third-party may not be considered in

evaluating personal jurisdiction of a defendant.       McElroy.    Specifically, the acts of other

Defendants and any related entities and their involvement in the alleged incident at issue are not

relevant to evaluating Apex Medical USA Corp.’s contacts with Texas.

       In McIntyre Machinery Ltd. v. Nicastro, 131 S. Ct. 2780 (2011), the Supreme Court

analyzed the minimum contacts necessary to support personal jurisdiction under the stream of

commerce theory. In McIntyre, the Court found that “the defendant’s transmission of goods

permits the exercise of only where the defendant can be said to have targeted the forum; as a

general rule, it is not enough that the defendant might have predicted that its goods will reach the

forum State.” Id. at 2788-89. The Court found in McIntyre that: 1) having a distributor agree to

sell products in the United States; 2) attending trade shows in states other than where the product

was sold, 3) having four products end up in the eventual state, 4) having no office in that state, 5)

not sending employees to that state, 6) not paying taxes in that state, 7) not owning property in

that state, and 8) not having advertised in the state, all amounted to insufficient contacts with the

state. In the instant matter the Plaintiff has alleged less than in McIntyre and has failed to

establish that Apex Medical USA Corp. has availed itself of the forum state, Texas. Therefore,

this clearly fails Texas’ Long-Arm statute.

       In Texas, the defendant’s expectations are key to deciding whether it is proper to call it

before a Texas court. Am. Type Culture Collection, 83 S.W.3d at 806. Further, de minimus

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sales, especially those not directly connected to the alleged incident at issue, will not be

considered to give rise to an expectation sufficient to find specific personal jurisdiction over

Defendant. McElroy.

       The lack of connections to Texas is underscored by the fact that Apex Medical USA

Corp.’s products, which does NOT include any cold/hot pad, are sold in California. See Exhibit

B. Apex Medical USA Corp.’s sales take place in California. Apex Medical USA Corp. did not

avail itself of the privilege of conducting business in Texas. Id. Therefore, there is no specific

personal jurisdiction.

       Even if Apex Medical USA Corp. had sufficient minimum contacts with Texas, which it

does not, the exercise of jurisdiction must not offend traditional notions of fair play and

substantial justice. Int’l Shoe Co., 326 U.S. 310; Burger King, 471 U.S. at 477-78. The Court

must look at the extent to which the lawsuit relates to Apex Medical USA Corp.’s activities, the

availability of evidence and the location of witnesses, the availability of an alternative forum, the

relative costs and burdens of litigants and state policy in providing a forum for this litigation.

World-Wide, 444 U.S. at 292.

       Evaluating these factors, it is clear that Texas is not an appropriate forum for Apex

Medical USA Corp., a foreign company headquartered, operating and conducting business in

California. While the burdens of a California company litigating in Texas are obvious, Plaintiff

can show little legitimate interest in forcing Apex Medical USA Corp. to undertake those

burdens, particularly when Apex Medical USA Corp.’s alleged wrongdoing, if any, is founded

on Plaintiff’s mistaken belief. Apex Medical USA Corp. sells air mattresses, autoclave and

masks, not cold/hot pads. The burden on Apex Medical USA Corp. in litigating a product

liability case in Texas when all of its witnesses and documentation are in California is unduly

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burdensome. There can be no state policy favoring litigation in Texas with a Californian

company that has no activities concerning the dispute with Texas. Thus, the exercise of

jurisdiction over Apex Medical USA Corp. would be unreasonable, unduly burdensome and

would offend traditional notions of fair play and substantial justice.

                                         III. CONCLUSION

       Wherefore, for the reasons set forth above, Apex Medical USA Corp. respectfully

requests that the Court grant its motion to dismiss for lack of personal jurisdiction by way of

special appearance, dismiss the Petition against Apex Medical USA Corp. and for all other relief

which it deems just and appropriate.

                                              Respectfully submitted,




                                              By: /s/ Tracy Lin
                                                  Tracy Lin
                                                  State Bar No. 24103113
                                                  3970 Lindbergh Drive
                                                  Addison, Texas 75001
                                                  tlin@sandorslaw.com
                                                  Phone: (469) 237-7773
                                                  Fax: (972) 422-5645
                                                  Attorney for Defendant
                                                      Apex Medical USA Corp.


                                       Certificate of Service
I certify that a true copy of the above was served on each or party in accordance with the Texas
Rules of Civil Procedure on January 31, 2021.


                                                                By: /s/ Tracy Lin
                                                                     Tracy Lin


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                          Exhibit A
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                          Exhibit B
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                          Exhibit C
2021/1/30         ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
             Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                Page 58 of 109 PageID 69
                            Pickup & delivery                                                       Walmart.com

                                                                                                                                           0
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        NEW! Free shipping with no order min. Restrictions apply.

                                    Learn more

  Health / First Aid / Ice Packs

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                                                                     4 of 6




   Report incorrect product information



  ThermiPaq
  ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back
  and Knee, X-Large, 9.5" x 16"
                                                                                                                                            Feedback




   (4.6) 5 ratings                  4 comments

  $28.33
  FSA and HSA eligible See details

                                           Qty:
                                                  1                       Add to cart



           Free delivery
https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-5…       1/12
2021/1/30         ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
     Free
       Casedelivery
              4:21-cv-00125-O Document 1-3 Filed 02/05/21 Page 59 of 109 PageID 70
                         Pickup &
            Arrives by Thursday,   delivery
                                 Feb 4                                                              Walmart.com

           Pickup not available                                                                                                           0
                                                 Search Walmart.com


  More delivery & pickup options


  Sold & shipped by ATC Medical               Return policy



      Add to list                   Add to registry




  10 other sellers from $27.68

  $27.68+ Free delivery
  Sold & shipped by Katy Med Solutions


  $29.61+ Free delivery
  Sold & shipped by Emerald City Imports


     Compare all 11 sellers




                               FlexiKold Gel Ice Pack (Standard Large: 10.5" x 14.5") - Reusable Ice Pack for
                               Injuries (Cold Pack Compress to aid Back Injuries, Pain Relief for Shoulder,…
                                128

                               $10.99 - $29.99
                               2-day delivery

                                                                                                                               AdvertisementFeedback




   Customers also considered
https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-5…       2/12
2021/1/30        ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
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                          Pickup & delivery                                                        Walmart.com

                                                                                                                                          0
                                                Search Walmart.com




   ACE Brand Reusable Cold Compress,                 CryoMax Reusable 8 Hour Medium                     Thera-Med Cold Pack Universa
   Large, Soft, 7.75" x 11.87", 1/Pack               Cold Pack
              395                                          67                                            27


   $11.09 - $13.14                                   $14.92 $14.92 / each                               $13.68 ($2.28/ea)
                                                     2-day delivery




   Customers also bought these products




                                                                                                                                           Feedback




   Colgate Cavity Protection Toothpaste              (2 Pack) Equate 70% Isopropyl Alcohol,             Nighttime Severe Cold, Flu an
   with Fluoride, Great Regular Flavor, 6…           32 Oz                                              Pain Reliever/Fever Reducer, N
              1507                                         13307                                         146


   $3.96 ($1.32/ea)                                  $3.92                                              $3.74 (62.3 ¢/ea)
   2-day delivery                                    2-day delivery                                     2-day delivery




https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-5…      3/12
2021/1/30        ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                Page 61 of 109 PageID 72
                         Pickup & delivery                                                         Walmart.com

  About This Item                                                                                                                         0
                                                Search Walmart.com

  We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here,
  and we have not verified it. See our disclaimer

   An Ice Pack and Microwavable Heating Pad Hot Pack â For Injuries and Sore Muscles The ThermiPaq Extra Large
   Heat Pack & Cold Pain Relief Wrap is a leader in cold packs for injuries and hot packs for pain. The hot pad cold
   pad uses a thermal ceramic compound made from all-natural, clay-based materials. Developed by a former NASA
   engineer, this revolutionary compound utilizes radiant energy to create a deep penetrating, therapeutic system
   for hot and cold applications. The pack is reusable and offers radiant energy that offers distinct advantages
   transferring heat and cold slowly and evenly to your affected pain area. This allows heat therapy to penetrate
   deeper and more effectively. The Extra Large Therapeutic Hot & Cold Pain Relief Wrap conforms to all parts of
   the body including the back, knee, thighs and shoulders. The clay based properties of Thermipaq enable you to
   easily mold the ThermiPaq heat pad to any affected area for better pain relief. ThermiPaq is safe and easy to use.
   Our radiant energy technology allows ThermiPaq to heat evenly throughout without generating "hot spots" that
   can harm your skin. For hot therapy, the pad quickly heats in the microwave (see instructions for microwaveable
   hot times). For cold therapy, place the pad in the freezer and it is ready for use in one hour.ThermiPaq Reusable
   Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16"

  Indications:
  Health Concern: neck pain shoulder pain leg pain Back Pain


       WARNING:

       See bottom for safety instructions. Use as directed to avoid possible injury. Test temperature by applying
       ThermiPaq to sensitive skin, such as the underside of the wrist. Always test the ThermiPaq pad inside its special
       cloth cover. If the ThermiPaq wrap feels uncomfortable, remove for a few minutes and retest until
       comfortable. Do not use on infants. Pay special attention when using ThermiPaq for young children and older
       persons whose skin may be less sensitive to temperature extremes. Persons with diabetes, circulatory
       problems, nerve damage, paralysis or insensitive skin should use only as directed by a physician. Consult your
       doctor before treating any serious injury or when pain persists. Do not use in conjunction with liniments, balms
       or lotions.



                          Specifications                                                     Comparison Chart
                                                                                                                                           Feedback




                                            You are viewing




                                         Carex Health Brands                ThermiPaq Hot & Cold                  ThermiPaq Hot and Co
                                        ThermiPaq Pain Reli…                Pack Pain Relief Wrap,…                Pack Wrap Pain Relie


https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-5…      4/12
2021/1/30        ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                Page 62 of 109 PageID 73
                         Pickup & delivery                                                         Walmart.com
   Features
                                                                                                                                          0
                                                Search Walmart.com
   Country of Origin -
                                        USA and/or Imported                USA or Imported                        USA or Imported
   Components

   Gender                               Unisex                             Unisex                                 Unisex


   Manufacturer Part Numb…              CA05302                            TPF5201LP                              TPF5302LP


   Assembled Product Weig…              51.2                               1.85 lb                                3.56 lb


   Model                                749836053025                       TPF5201LP                              TPF5302LP


   Flexible Spending
                                        Y                                  Y                                      Y
   Account-Eligible

   Brand                                ThermiPaq                          ThermiPaq                              ThermiPaq


   Product Category                     Health & Beauty                    Health & Beauty                        Health & Beauty


   Manufacturer                         Carex Health Brands                Compass Health Brands                  Compass Health Bran




   Customers also viewed these products


                                                                                                                                           Feedback




   ThermiPaq Reusable Ice Pack and Hot               Inerzen Neck and Shoulder Hot and                  Hot / Cold Therapy Pack Nexc
   Cold Pack For Injuries - Shoulder,…               Cold Gel Pad Therapy Wrap for Pain,…               Reusable 4 X 10 "
              1                                            7                                             37



https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-5…      5/12
2021/1/30        ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
        Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                    Page 63 of 109 PageID 74
   $30.51        Pickup & delivery $12.99                                                          $9.51
                                                                                                Walmart.com

                                                                                                                                          0
                                                Search Walmart.com



   Sponsored Products




   FlexiKold Gel Ice Pack w/Straps                   FlexiKold Gel Ice Pack (Standard Large:            TrekProof Ice Pack with Wrap
   (Standard Large: 10.5" x 14.5") - One (1…         10.5" x 14.5") - Reusable Ice Pack for…            Set - Reusable Hot and Cold T
              14                                           128                                           1


   $16.99 - $24.99                                   $10.99 - $29.99                                    $17.97
                                                     2-day delivery                                     2-day delivery




  Customer Comments
  What others said when purchasing this item


     I have another one I bought several years ago and it's the best for whatever you need to use it
     for.

     Eldon, purchased on January 23, 2021                                                                                          Report
                                                                                                                                            Feedback




     Have used before and I like it.

     alan, purchased on January 18, 2021                                                                                           Report




                                                               1     2      




https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-5…      6/12
2021/1/30         ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
             Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                Page 64 of 109 PageID 75
  Customer reviews & ratings
                           Pickup & delivery                                                        Walmart.com

                                                                                                                                           0
                                                 Search Walmart.com
            4.6                            100%
                                 Recommended
           5 ratings                       (4 of 4)

  5 stars                                               3

  4 stars                                               2

  3 stars                                               0

  2 stars                                               0

  1 star                                                0


       See all reviews                Write a review


  5 reviews                                                                                           Sort by: most relevant              

             Cordless heating pad
  April 24, 2020         Verified purchase

  I am very happy with this piece . It is a heating pad without any cord . I had the smaller one first.when I saw
  the large one I had to buy it . If you take it to bed or sit in your recliner it is great.




  Donald

  Helpful?    Yes (2)   No (1)    Report




             Best heat wraps for me!!
  February 26, 2018          Verified purchase

  The clay like material of these wraps is, in my opinion, the best source of heat for arthritis or injury. They
                                                                                                                                            Feedback




  will last several years if you follow directions and don't overheat!!! This larger one is often not in stores so
  thank you for making it available on line. Love it!

  Happy Camper

  Written by a samsclub.com customer.


  Helpful?    Yes (1)   No (0)    Report




             Great for all muscles
https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-5…       7/12
2021/1/30         ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
             Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                Page 65 of 109 PageID 76
  January 11, 2020         Pickup & delivery                                                        Walmart.com
  This ice pack hold up well and is great for all back muscles.
                                                                                                                                           0
                                                 Search Walmart.com
  lauralaker

  Helpful?    Yes (0)   No (0)    Report




             Soft and pliable, doesn't stay cold for long
  May 4, 2020           Verified purchase

  I really like the softness and the way it lays over the shoulder. My biggest complaint is it does not stay cold
  long enough.

  mailbag

  Helpful?    Yes (0)   No (0)    Report




             ThermiPaq
  March 4, 2017          Verified purchase

  Haven't used it as a hot pack. It's heavier than I expected. I like the heaviness. Feels like those used in a
  chiropractor's office. I would buy again.

  BBoat

  Written by a samsclub.com customer.


  Helpful?    Yes (2)   No (1)    Report




                                                                                                                                            Feedback




https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-5…       8/12
2021/1/30        ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                Page 66 of 109 PageID 77
                         Pickup & delivery                                                         Walmart.com
   Sponsored Products
                                                                                                                                          0
                                                Search Walmart.com




   Hot and Cold Therapy Gel Pack / Heat     Frida Mom Witch Hazel Perineal                              CryoMax Reusable 8 Hour Me
   Wrap for Injuries by Node Fitness - 10"… Cooling Pad Liners                                          Cold Pack
                                                                55                                            67

   $17.99                                            $11.97                                             $14.92
                                                     2-day delivery                                     NextDay eligible




  Customer Q&A
  Get specific details about this product from customers who own it.



      Ask a question                                                                                                                       Feedback




https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-5…      9/12
2021/1/30        ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                Page 67 of 109 PageID 78
                         Pickup & delivery                                                         Walmart.com


  Policies & Plans                              Search Walmart.com
                                                                                                                                          0



  Pricing policy
                                         Pricing policy
                                         About our prices

                                         We're committed to providing low prices every day, on
                                         everything. So if you find a current lower price from an online
                                         retailer on an identical, in-stock product, tell us and we'll
                                         match it. See more details at Online Price Match.




   Consider these popular products




   Mueller Ice Bag, Blue, 9"                         Frida Mom Witch Hazel Perineal                     Relief Pak Point Relief Tri Sect
                                                     Cooling Pad Liners                                 Cold Spot Cold or Hot Therap
              100                                          55                                            12


   $7.02 $7.02 / each                                $11.97 ($47.88/lb)                                 $13.15 $13.15 / each
                                                                                                                                           Feedback




   2-day delivery                                    2-day delivery




https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-…     10/12
2021/1/30        ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
         Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21
   Related Pages :
                                                                                            Page 68 of 109 PageID 79
                    Pickup & delivery                                        Walmart.com
   Thermipaq, Hot & Cold Packs, Reduce Inflammation, Reduce Swelling, FSA/HSA Eligible Other First Aid, Relieve
   Pain, Pain Relieving Devices, Reduce Pain                                                                                              0
                                        Search Walmart.com




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                                                       Grocery Pickup & Delivery

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                                                              Store Directory

                                                            Privacy & Security

                                                            CA Privacy Rights

                                                 Do Not Sell My Personal Information

                                                   Request My Personal Information

                                                            Customer Service

                                                               Terms of Use
                                                                                                                                           Feedback




                                                             Shop Our Brands




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https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-…      11/12
2021/1/30        ThermiPaq Reusable Ice Pack For Injuries, Hot Cold Pack For Shoulder, Elbow, Ankles, Back and Knee, X-Large, 9.5" x 16" - Walm…
            CaseTo4:21-cv-00125-O          Document
                   ensure we are able to help             1-3
                                              you as best we can, Filed   02/05/21
                                                                  please include         Page number:
                                                                                 your reference 69 of 109  PageID 80
                                                                                                      ZFDBMRDUBS
                         Pickup & delivery                                                         Walmart.com

                                                                                                                                          0
                                                Search Walmart.com




                                                                                                                                           Feedback




https://www.walmart.com/ip/ThermiPaq-Reusable-Ice-Pack-For-Injuries-Hot-Cold-Pack-For-Shoulder-Elbow-Ankles-Back-and-Knee-X-Large-9-…     12/12
2021/1/30                                                                 TMView
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                        Page 70 of 109 PageID 81

                                                                                      View in the           Go     TM
                                                  Back            6/8    
                                                                                   original language        to:   info
                                                                                                                       




                                                                                         Dates
                       THERMIPAQ                    Trade mark status
                                                                                         220 Application date
                                                    Registered
                                                                                         03/11/2011
                                                    Status date
                                                                                         151 Registration
                                                    02/04/2018
                                                                                         date
                                                    210/260 Application                  18/09/2012
                                                    number
                                                                                         Opposition period
                                                    85464003
                                                                                         start date
                                                    111 Registration                     03/07/2012
                                                    number
                                                    4209032
                                                    Kind of IPR
                                                    Trade mark                           Oﬃce
                                                    550 Trade mark type
                                                    Combined
                                                    551 Kind of mark
                                Search for          Individual
                                trade marks
                               with similar
                                images
                                                    571 Mark image
                                                    description
                                                                                         View this trade
                                                                                         mark in the o ce
                                                    The mark consists of                 of origin 
                                                    a rectangular design
                                                    vertically split into                Trade mark o ce
                                                    two smaller,                         United States -
                                                    narrower rectangles;                 USPTO
                                                    the smaller, left hand
                                                                                         190 Registration
                                                    rectangle has a red
                                                                                         o ce
                                                    background and the
                                                                                         US
                                                    smaller, right hand
                                                    rectangle has a blue                 Show more
                                                    background. In the
                                                    upper right-hand
                                                    corner of the blue
                                                                                         Owner
                                                    rectangle is the word
                                                    "ThermiPAQ" written                  Applicant name
                                                    in white lettering in a              COMPASS
                                                    combination of                       HEALTH BRANDS
                                                    upper and lowercase                  CORP.
                                                    characters. The "i" in               841 Applicant
                                                    "ThermiPAQ" is                       nationality code
                                                    dotted with a red                    US
                                                    dot while the letters
                                                                                         842 Applicant legal
                                                    "P","A","Q" in all caps
                                                                                         entity
                                                    are superimposed
                                                                                         公司
                                                    on a red, square
                                                    background with two                  Address

https://www.tmdn.org/tmview/welcome#/tmview/detail/US500000085464003                                                       1/7
2021/1/30                                                               TMView
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21
                                     curved corners.
                                                                                 Page6753
                                                                                      71 of 109 PageID 82
                                                                                          ENGLE
                                                    Emanating from the              ROAD
                                                    center of the
                                                                                    City
                                                    rectangular design
                                                                                    MIDDLEBURG
                                                    are ray-like lines
                                                                                    HEIGHTS
                                                    fanning out in all
                                                    directions. The rays            State
                                                    on the left side of             OH
                                                    the design are white            Postcode
                                                    and yellow whereas              44130
                                                    the rays on the right
                                                                                    Address country
                                                    side of the design
                                                    are light blue.                 US

                                                    270 Application
                                                    language code
                                                    en                              Representative
                                                    511 Nice classi cation
                                                                                    Name
                                                    010
                                                                                    Lorri W Cooper
                                                    Show more




                     Goods and Services                                             Correspondence
                     Classi cation kind                                             address
                     Nice                                                           Address
                                                                                    Lorri W Cooper
                                        English                                     Medley, Behrens
                     Language:                    
                                       (Original)                                   & Lewis LLC
                                                                                    6100 Rockside
                       010 Hot and cold pads and wraps for                          Woods Blvd.,
                       relieving pain for medical purposes                          Suite 440
                                                                                    Independence
                                                                                    OH 44131
                     Classi cation kind
                     Domestic (3)

                                        English
                     Language:                    
                                       (Original)


                       026 Measuring and Scienti c Appliances


                       039 Clothing


                       044 Dental, Medical and Surgical Appliances




                     Vienna code
                            01.15.25      Other natural phenomena not
                                          classi ed in other divisions or
                                          categories, soil

https://www.tmdn.org/tmview/welcome#/tmview/detail/US500000085464003                                        2/7
2021/1/30                                                              TMView
            Case 4:21-cv-00125-O
                       26.09.21 -
                                  Document 1-3 Filed 02/05/21                        Page 72 of 109 PageID 83

                           26.11.10     Straight lines or bands
                           26.11.21     Set of lines evoking speed or
                                        propulsion




               CLAIMS

                     Publication (2)

                        Date                          Number                     Section

                        18/09/2012                                               Registration

                        03/07/2012                                               Application




                     Exhibition                           Priority                         International
                     priority                             No information
                                                                                           registration
                     No information                       available                        transformation
                     available                                                             No information
                                                                                           available



                     Seniority
                     No information available




               PROCEDURES

                     Opposition
                     No information available




                     Recordals                                             Cancellations
                     Event date           Event description                No information available
                     02/04/2018           Registered -
                                          sec. 8 (6-yr)
                                          accepted & sec.
                                          15 ack.

                     02/04/2018           Notice of                        Renewals
https://www.tmdn.org/tmview/welcome#/tmview/detail/US500000085464003                                            3/7
2021/1/30                                                              TMView
            Case 4:21-cv-00125-O acceptance
                                   Document of
                                               1-3 Filed 02/05/21                  Page 73 of 109 PageID 84
                                                                         No information available
                                          sec. 8 & 15 - e-
                                          mailed

                     02/04/2018           Case assigned
                                          to post
                                          registration
                                          paralegal

                     22/03/2018           Teas section 8
                                          & 15 received

                     18/09/2017           Courtesy
                                          reminder - sec.
                                          8 (6-yr) e-
                                          mailed

                     16/11/2016           Automatic
                                          update of
                                          assignment of
                                          ownership

                     19/10/2016 Teas
                                revoke/app/change
                                addr of atty/dom
                                rep received

                     19/10/2016 Attorney/dom.rep.revoked
                                and/or appointed

                     22/09/2015 Teas
                                revoke/app/change
                                addr of atty/dom
                                rep received

                     22/09/2015 Attorney/dom.rep.revoked
                                and/or appointed

                     21/01/2015          Teas change of
                                         correspondence
                                         received

                     25/08/2014 Teas
                                revoke/app/change
                                addr of atty/dom
                                rep received

                     25/08/2014 Attorney/dom.rep.revoked
                                and/or appointed

                     28/05/2014           Assignment of
                                          ownership not
                                          updated
                                          automatically

                     09/04/2014           Automatic
                                          update of
                                          assignment of
                                          ownership

                     18/09/2012           Registered-

https://www.tmdn.org/tmview/welcome#/tmview/detail/US500000085464003                                          4/7
2021/1/30                                                              TMView
            Case 4:21-cv-00125-O principal
                                   Document 1-3 Filed 02/05/21                  Page 74 of 109 PageID 85
                                          register

                     03/07/2012           Published for
                                          opposition

                     03/07/2012           O cial gazette
                                          publication
                                          con rmation e-
                                          mailed

                     13/06/2012           Noti cation of
                                          notice of
                                          publication e-
                                          mailed

                     27/05/2012           Law o ce
                                          publication
                                          review
                                          completed

                     24/05/2012           Approved for
                                          pub - principal
                                          register

                     02/05/2012          Teas/email
                                         correspondence
                                         entered

                     01/05/2012           Teas response
                                          to o ce action
                                          received

                     01/05/2012          Correspondence
                                         received in law
                                         o ce

                     30/04/2012           Noti cation of
                                          non- nal action
                                          e-mailed

                     30/04/2012           Non- nal
                                          action e-mailed

                     30/04/2012           Non- nal
                                          action written

                     23/04/2012           Previous
                                          allowance
                                          count
                                          withdrawn

                     05/04/2012           Withdrawn
                                          from pub otqr
                                          request

                     24/03/2012           Law o ce
                                          publication
                                          review
                                          completed

                     24/03/2012           Assigned to lie
https://www.tmdn.org/tmview/welcome#/tmview/detail/US500000085464003                                       5/7
2021/1/30                                                              TMView
            Case 4:21-cv-00125-O
                   07/03/2012
                                  Document 1-3 Filed 02/05/21
                                 Noti cation of
                                                                                Page 75 of 109 PageID 86
                                          examiners
                                          amendment e-
                                          mailed

                     07/03/2012           Examiners
                                          amendment e-
                                          mailed

                     07/03/2012           Examiners
                                          amendment -
                                          written

                     07/03/2012           Examiner's
                                          amendment
                                          entered

                     07/03/2012           Approved for
                                          pub - principal
                                          register

                     05/03/2012           Previous
                                          allowance
                                          count
                                          withdrawn

                     28/02/2012           Noti cation of
                                          examiners
                                          amendment e-
                                          mailed

                     28/02/2012           Examiners
                                          amendment e-
                                          mailed

                     28/02/2012           Examiners
                                          amendment -
                                          written

                     28/02/2012           Examiner's
                                          amendment
                                          entered

                     28/02/2012           Approved for
                                          pub - principal
                                          register

                     21/02/2012           Assigned to
                                          examiner

                     08/11/2011           Notice of
                                          design search
                                          code mailed

                     07/11/2011           New
                                          application
                                          o ce supplied
                                          data entered in
                                          tram

                     07/11/2011           New

https://www.tmdn.org/tmview/welcome#/tmview/detail/US500000085464003                                       6/7
2021/1/30                                                                  TMView
            Case 4:21-cv-00125-O application
                                  Document 1-3 Filed 02/05/21                          Page 76 of 109 PageID 87
                                          entered in tram




                     Appeals
                     No information available




                              Search        Participating oﬃces               Help    Your feedback

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    Property Network                                    Alicante (SPAIN)                        +34 96 513 9100

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    EUIPO                             Oﬃce


                          TMDSVIEW-3.8.0-RC4.2           Compatibility       Data protection   Legal notice


                                                                       .




https://www.tmdn.org/tmview/welcome#/tmview/detail/US500000085464003                                                        7/7
2021/1/30                                             ThermiPaq Hot/Cold Pain Relief Wrap – Carex Health Brands
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                       Page 77 of 109 PageID 88
                                                      FREE SHIPPING ON ORDERS OVER $50


      (800)526-8051               CONTACT US           REGISTER PRODUCT                BUSINESS ACCOUNTS                BLOG
        CANADA SITE


                                                                                                               LOG IN          0 Cart




                                                                                             

                  SHOP BY CONDITION                   MOBILITY            BATH SAFETY              PAIN MANAGEMENT 


                  SLEEP THERAPY               BRIGHT LIGHT THERAPY                   HOMECARE              PROMOTIONS 




    HOME / HOT AND COLD THERAPY PRODUCTS / THERMIPAQ HOT/COLD PAIN RELIEF WRAP



                                                                               Item # : TPF5302LP

                                                                               THERMIPAQ HOT/COLD
                                                                               PAIN RELIEF WRAP

                                                                               Availability:     In Stock



                                                                                 Please Note: Due to the current COVID-19 crisis,
                                                                                 the arrival date of this order could be delayed by
                                                                                 6-7 days


                                                                               $24.99

                                                                               SIZE


                                                                                  MEDIUM (6.5" X 12")



                                                                                  EXTRA-LARGE (9.5" X 16")




                                                                               Qty       1                  ADD TO CART
https://carex.com/collections/hot-and-cold-therapy-products/products/thermipaq-hotcold-pain-relief-wrap                                 1/8
2021/1/30                                             ThermiPaq Hot/Cold Pain Relief Wrap – Carex Health Brands
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                      Page 78 of 109 PageID 89


                                                                               BUY TWO, GET THE THIRD FREE




                                                                               ThermiPaq Hot/Cold Pain Relief Wrap
                                                                                                                  $24.99




                                                                               ThermiPaq Hot/Cold Pain Relief Wrap
                                                                                                                  $24.99

                                                                                Total price: $49.98

                                                                                  Add selected to cart




                                                                                      OVERV               TECHNICAL
                                                                                      IEW                 SPECIFICATION



                                                                                      The ThermiPaq Hot & Cold Pain Relief
                                                                                      Wrap uses a thermal ceramic compound
                                                                                      made from all-natural, clay-based
                                                                                      materials to retain heat when heated and
                                                                                      stay cool when frozen. Developed by a
                                                                                      former NASA engineer, this revolutionary
                                                                                      "Theramics," compound utilizes radiant
                                                                                      energy to create a deep penetrating,
                                                                                      therapeutic system for hot and cold
                                                                                      applications. ThermiPaq's radiant energy
                                                                                      o ers distinct advantages transferring
                                                                                      heat and cold slowly and evenly to your
                                                                                      a ected pain area. This allows Theramics
                                                                                      therapy to penetrate deeper and more
                                                                                      e ectively.

https://carex.com/collections/hot-and-cold-therapy-products/products/thermipaq-hotcold-pain-relief-wrap                          2/8
2021/1/30                                             ThermiPaq Hot/Cold Pain Relief Wrap – Carex Health Brands
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                      Page 79 of 109 PageID 90
                                                                                      Fits tight to conform to all parts of the
                                                                                      body. The hot cold pack conforms to all
                                                                                      parts of the body including the back, knees,
                                                                                      ankles, and elbows. The clay-based
                                                                                      properties of Theramics enable you to
                                                                                      easily mold the ThermiPaq pad to any
                                                                                      affected area for better pain relief.
                                                                                      Clay based hot & cold therapy. Whether
                                                                                      you're looking for a microwave heating pad
                                                                                      to reduce swelling or need a cold pack for
                                                                                      pain relief, it can do both. The reusable heat
                                                                                      pack and cold pack uses clay to retain a
                                                                                      consistent temperature for long periods of
                                                                                      time.
                                                                                      Save and easy to use. Our radiant energy
                                                                                      technology allows ThermiPaq to heat
                                                                                      evenly throughout without generating any
                                                                                      hot spots that can harm your skin. For hot
                                                                                      therapy, the pad quickly heats in the
                                                                                      microwave (see included instructions for
                                                                                      actual times). For cold therapy, place the
                                                                                      pad in the freezer and it is ready for use in
                                                                                      one hour.
                                                                                      Soft cover with hook and loop straps. The
                                                                                      pain relief wrap is easy and comfortable to
                                                                                      use. Its soft cover makes it great to use for
                                                                                      long periods of time. The hook and loop
                                                                                      straps let it stay in place, acting as a
                                                                                      shoulder wrap for pain.
                                                                                      Available in medium or extra-large. The
                                                                                      clay-based hot and cold wrap is available in
                                                                                      a 6.5" x 12" size or a 9.5" x 16" size.


                                                                                      Trust in Carex for your pain
                                                                                      management. For 35+ years, we've
                                                                                      helped people conquer their pain, keep
                                                                                      their independence, and improve the
                                                                                      quality of their life. Our pain relief
                                                                                      products are battle-tested, customer-
                                                                                      centric, and designed to improve the
                                                                                      healing process. All of our products fall
                                                                                      under our warranty and satisfaction
https://carex.com/collections/hot-and-cold-therapy-products/products/thermipaq-hotcold-pain-relief-wrap                                3/8
2021/1/30                                             ThermiPaq Hot/Cold Pain Relief Wrap – Carex Health Brands
                                                       under our
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21     warranty
                                                              Page  80 of and
                                                                          109satisfaction
                                                                               PageID 91
                                                                                      guarantee. If you're not happy, we'll
                                                                                      make it right.


                                                                                      Need help selecting the right hot & cold
                                                                                      therapy item?




                                                                                      Need help selecting the right pain
                                                                                      management solution?
                                                                                      Read our guide to pain management. We
                                                                                      cover the various forms of pain
                                                                                      management and what they're right for.




                                                               REVIEWS

         Based on 4 reviews Write a review
         BEEN USING THESE FOR YEARS
         Ronnie B on Dec 22, 2020
         The instructions ARE important. Some reviewers are disappointed but I'll bet it is from heating the pad in the
         wrong manner. The instructions are pretty explicit and should be followed. The pads may not feel hot enough at
         first but the radiated heat increases after a minute or two. Double check the power rating of your microwave and
         follow the instructions for the proper power level.

https://carex.com/collections/hot-and-cold-therapy-products/products/thermipaq-hotcold-pain-relief-wrap                          4/8
2021/1/30                                             ThermiPaq Hot/Cold Pain Relief Wrap – Carex Health Brands
          Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21 Page 81 of 109 PageID 92
         We have used 4 different types of heating pads and now this is the only hot/cold pad we buy. We've used them
         cold and hot. We have worn out about 6 or 8 pads through the years but we easily get more than a year of use
         from each pad. But don't over-heat them.

         MY ALL TIME FAVORITE ICE PACK
         CD on Sep 23, 2020
         I have used the clay ThermiPaq products for years. It holds the cold the longest of any other ice pack I have
         tried. My small one I have had for MANY years, just got a new large one to replace the previous one I had as it
         got a pin size hole in it and was leaking but it was my fault not the product. I keep them in the freezer when not
         in use and have never had an issue with them. I use them all the time.

         HORRIBLE!!!!
         Tejinder Kaur on Aug 03, 2020
         The clay bag burst in the microwave within 20 seconds causing a big scare with the loud pop sound.

         NOT FOR OCCASIONAL USE
         Pam on Jul 29, 2020
         Used the ThermiPaq two years ago for knee surgery pain. Worked OK. Put it away in it's box and didn't use
         again until recently when I needed it for an injury. When I took it out of the box, it had solidified into a brick
         and is pretty much useless. Tried heating it up and it didn't soften anywhere near enough to "conform to body
         part".
         Great little gimmick for short term use, but doesn't store well. Better off with an electric heating pad or an ice
         bag. At least they are reusable over the long term.




                                       QUESTIONS & ANSWERS
                                                                                                                   Ask a Question




https://carex.com/collections/hot-and-cold-therapy-products/products/thermipaq-hotcold-pain-relief-wrap                              5/8
2021/1/30                                             ThermiPaq Hot/Cold Pain Relief Wrap – Carex Health Brands
       Case
    Q What   4:21-cv-00125-O
           material is the soft coverDocument  1-3 Filed 02/05/21
                                     made out of?                                                 Page 82 of 109 PageID 93

    A The hot & cold pain relief wrap is made of Polyester, thanks for asking!

    Q My Thermipak is 9.5 /16” .How many seconds in the microwave?
    A This will depend on the microwave watts but no longer than 45 seconds. It's always best to heat it for
         short, 10-second intervals and continue to see how hot it gets in between.

    Q Lost my directions , how long do you heat it in the microwave?
    A This will vary based on which size wrap you have and your microwave. We've included the heating
         instructions for microwaving based on Watts for the Medium size wrap below. We'd recommend heating
         your wrap for short 10 second increments and checking how hot it is in between each heating session.

         Medium 6" x 12" wrap - 1200 Watt 45 Sec. - 1000 Watt 1 Min. - 800 Watt 1 Min.~15 Sec.

         Hope this helps!

    Q Hi, I have a thermipaq for many years. The inner material become pieces of rocks and blocks. I think it
         reached end of life. Do I need to recycle it as chemical waste or simply throw it away as normal trash?
    A Thanks for asking! Because the inner material is all-natural clay-based materials with no hazardous
         materials, there is no need to recycle it as chemical waste.

    Q how many years does a clay pack last
    A Thanks for asking! We've had many users report using it for multiple years and are still using it. However, it
         will all depend on how often the wrap is used, how often it's being heated up and for how long, and the
         conditions in which it's stored/used.

                                                                    «    1 2       »




                                             RELATED PRODUCTS
                                                                            25% off when bundling          25% off when bundling




       Bed Buddy Joint Wrap               Apex Pocket Organizer              Roscoe Medical Respire            Roscoe Touchless
                                                                             Pulse Oximeter Oxygen          Forehead Thermometer
                                                                                    Monitor
              from $13.99                             $7.99
                                                                                                                     $79.99
                                                                                         $22.99
            SHOW OPTIONS                       ADD TO CART
                                                                                                                  ADD TO CART

https://carex.com/collections/hot-and-cold-therapy-products/products/thermipaq-hotcold-pain-relief-wrap                            6/8
2021/1/30                                             ThermiPaq Hot/Cold Pain Relief Wrap – Carex Health Brands
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                      Page 83 of 109 PageID 94
                                                                                   ADD TO CART




         SHOP BY                            NAVIGATE                           ABOUT US                      NEWSLETTER
         CONDITION                                                                                           SIGN UP
                                            Shop By Condition                  Our Story
         Arthritis       Muscle             Mobility                           Media Room                    Sign-Up for our
         Back            Weaknes            Bath Safety                        Careers                       newsletter and take
         Pain            s                  Pain Management                                                  advantage of what
         Bariatric Neck                     Sleep Therapy                      Downloadable                  Carex has to offer!
         Fibromya Pain                      Bright Light Therapy               Content
         lgia      Osteopo                                                     Contact Us                         YOUR   SUBMIT
         Hemorrh rosis                      Homecare                           Media
         oids            Post Op            Promotions                         Inquiries/Write for
         Hip             Seasonal                                              Us
         Injury          A ective                                              FAQ
         Incontine       Disorder                                              Knowledge Base
         nce             Sleep                                                 Warranty
         Joint Pain      Apnea
                                                                               Privacy Policy
                                                                               Terms & Conditions
                                                                               Orders & Returns
                                                                               Become an A liate
                                                                               Replacement Parts




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2021/1/30                                             ThermiPaq Hot/Cold Pain Relief Wrap – Carex Health Brands
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https://carex.com/collections/hot-and-cold-therapy-products/products/thermipaq-hotcold-pain-relief-wrap                      8/8
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            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                   Page 85 of 109 PageID 96
                                                      FREE SHIPPING ON ORDERS OVER $50


      (800)526-8051               CONTACT US           REGISTER PRODUCT              BUSINESS ACCOUNTS                   BLOG
        CANADA SITE


                                                                                                                LOG IN          0 Cart




                                                                                        

                  SHOP BY CONDITION                   MOBILITY          BATH SAFETY             PAIN MANAGEMENT 


                  SLEEP THERAPY               BRIGHT LIGHT THERAPY                 HOMECARE             PROMOTIONS 




                                                         RESOURCES TO HELP:


                                                          PAIN MANAGEMENT GUIDE



                                                       PRODUCT COMPARISON GUIDE



                                                                BUYER'S GUIDES




    HOME / HOT AND COLD THERAPY PRODUCTS


    HOT AND COLD THERAPY PRODUCTS
                                                                            SORT BY          Featured




    Bed Buddy®, Thera-Med™ and ThermiPaq™ Hot & Cold products are a convenient, exible
    solution for pain relief to maintain an active lifestyle. Bed Buddy and ThermiPaq products
    o er moist heat therapy and cold therapy and are a natural alternative or compliment to
https://carex.com/collections/hot-and-cold-therapy-products                                                                              1/10
2021/1/30                                           Hot and Cold Therapy Products – Carex Health Brands
         Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21 Page 86 of 109 PageID 97
    over the counter drug treatments. Our hot and cold therapy supplies help in managing
    various types of arthritis pain, joint pain and sti ness, reducing swollen muscles, and
    nurturing various types of sports injuries.




                                       Buy 2, Get 1 FREE




                     ON SALE                                                           SOLD OUT


          Bed Buddy                      Bed Buddy Hot &                    Bed Buddy Back                  Bed Buddy Foot
       Relaxation Bundle                    Cold Wrap                            Wrap                          Warmers



      $34.97          $21.99                 from $12.99                         $19.99                        from $11.99


       SHOW OPTIONS                      SHOW OPTIONS                        VIEW DETAIL                   SHOW OPTIONS



                                                                                                          Buy 2, get 1 FREE




                                                       ON SALE


        Bed Buddy Body                    Carex Lavender                      Bed Buddy                       ThermiPaq
             Wrap                         Neck Wrap Heat                     Comfort Wrap                    Hot/Cold Pain
                                               Wrap                                                           Relief Wrap

              $16.99                    $19.99          $14.99                   $12.99                        from $19.99


         ADD TO CART                       ADD TO CART                     SHOW OPTIONS                    SHOW OPTIONS




                                                     SOLD OUT


              TheraMed                          Bed Buddy Iso-                Bed Buddy                     Bed Buddy Joint
            Reusable Cold                             Ball™                  Comfort Pack                        Wrap
              Pack, Dual
            T           t
https://carex.com/collections/hot-and-cold-therapy-products                                                                   2/10
2021/1/30                                                 Hot and Cold Therapy Products – Carex Health Brands
            Temperature
             Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                  Page 87 of 109 PageID 98
               $14.99                                $9.99                             $24.99                      from $13.99


         ADD TO CART                           VIEW DETAIL                        ADD TO CART                   SHOW OPTIONS




                                                              ON SALE                        SOLD OUT


        ThermiPaq Moist                        TheraMed Gel                        TheraMed Gel                  TheraMed Cold
         Heat Pain Relief                      Bead Back Pain                     Bead Joint Wrap                Headache Band
           Neck Wrap                             Relief Pad

               $19.99                      $19.99             $16.99           $19.99           $14.99               $8.99

         ADD TO CART                           ADD TO CART                         VIEW DETAIL                   ADD TO CART




                                                          SOLD OUT


         TheraMed Cold                      Bed Buddy Neck &                     Bed Buddy Neck                 Bed Buddy Hot &
          Universal Pad                        Hand Wrap                              Pillow                     Cold Sinus Pack



               $16.99                               $12.99                             $19.99                        $16.99

         ADD TO CART                           VIEW DETAIL                        ADD TO CART                    ADD TO CART




                       ON SALE


         Carex Lavender                      ThermiPaq Moist                    TheraMed IcyCold                 TheraMed Clay
            Eye Mask                          Heat Back Pain                     Gel Bead Sports                Compression Joint
                                              and Headache                            Pack                           Wrap
                                               Relief Wrap
      $19 99            $13 99                      $19 99                              $8 99                        $16 99
https://carex.com/collections/hot-and-cold-therapy-products                                                                         3/10
2021/1/30                                                 Hot and Cold Therapy Products – Carex Health Brands
      $19.99    $13.99
         Case 4:21-cv-00125-O   $19.99 1-3 Filed 02/05/21
                              Document                 $8.99Page 88 of 109 PageID
                                                                             $16.9999

         ADD TO CART                           ADD TO CART                        ADD TO CART                   ADD TO CART




                                                          SOLD OUT


        TheraMed Clay                         TheraMed Soft                     TheraMed Instant                  Bed Buddy
       Compression Back                      Touch Joint Wrap                   Cold Packs, 8 Pack              Relaxation Mask
            Wrap

               $19.99                               $15.99                             $19.99                       $9.99

         ADD TO CART                           VIEW DETAIL                        ADD TO CART                   SHOW OPTIONS




                     SOLD OUT


        ThermiPaq 8"x14"                         Bed Buddy                        DPL Flex Pad -
       Icy Cold Pain Relief                    Lavender Neck                     Neck & Back Pain
              Wrap                              and Shoulder                       Relief Light
                                                   Wrap                           Therapy Wrap
               $22.99                               $32.99                             $159.99

            VIEW DETAIL                        ADD TO CART                        ADD TO CART




   NEED HELP DECIDING?
   LEARN MORE ABOUT PAIN MANAGEMENT



https://carex.com/collections/hot-and-cold-therapy-products                                                                       4/10
2021/1/30                                                 Hot and Cold Therapy Products – Carex Health Brands
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   THE 2020 ULTIMATE GUIDE TO PAIN MANAGEMENT
        LEARN MORE




https://carex.com/collections/hot-and-cold-therapy-products                                                               5/10
   
2021/1/30                                                 Hot and Cold Therapy Products – Carex Health Brands
            Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21




   CONTACT ONE OF OUR PRODUCT EXPERTS FOR HELP
        CONTACT US
                                                                                              Page 90 of 109 PageID 101




                                                              WHY CAREX?




https://carex.com/collections/hot-and-cold-therapy-products                                                               6/10
2021/1/30                                                 Hot and Cold Therapy Products – Carex Health Brands
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https://carex.com/collections/hot-and-cold-therapy-products                                                               7/10
2021/1/30                                                 Hot and Cold Therapy Products – Carex Health Brands
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https://carex.com/collections/hot-and-cold-therapy-products                                                               8/10
2021/1/30                                                 Hot and Cold Therapy Products – Carex Health Brands
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https://carex.com/collections/hot-and-cold-therapy-products                                                               9/10
2021/1/30                                                 Hot and Cold Therapy Products – Carex Health Brands
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         SHOP BY                            NAVIGATE                         ABOUT US                           NEWSLETTER
         CONDITION                                                                                              SIGN UP
                                            Shop By Condition                Our Story
         Arthritis       Muscle             Mobility                         Media Room                         Sign-Up for our
         Back            Weaknes            Bath Safety                      Careers                            newsletter and take
         Pain            s                  Pain Management                                                     advantage of what
         Bariatric Neck                     Sleep Therapy                    Downloadable                       Carex has to offer!
         Fibromya Pain                      Bright Light Therapy             Content
         lgia      Osteopo                                                   Contact Us                          YOUR       SUBMIT
         Hemorrh rosis                      Homecare                         Media
         oids            Post Op            Promotions                       Inquiries/Write for
         Hip             Seasonal                                            Us
         Injury          A ective                                            FAQ
         Incontine       Disorder                                            Knowledge Base
         nce             Sleep                                               Warranty
         Joint Pain      Apnea
                                                                             Privacy Policy
                                                                             Terms & Conditions
                                                                             Orders & Returns
                                                                             Become an A liate
                                                                             Replacement Parts




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https://carex.com/collections/hot-and-cold-therapy-products                                                                           10/10
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                           Exhibit D
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XT series
Continuous Positive Airway Pressure
XT series is one of the smallest CPAP in the market. Its palm-sized
and light weight design lends itself well to travel.
However, it delivers the same effective therapy as the larger
machines, including useful features like easy ramp settings,
automatic altitude adjustment, leak compensation and data
collection by SD card. And now, enhanced pressure stability and
the clinically proven algorithm make the New XT series even more
comfortable, with the introduction of the PVA pressure relief
function.
    Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                         Page 97 of 109 PageID 108
Apex Medical Corp.




                     Small but Effective!
                        Smaller portable CPAP has become a necessity in OSA market. XT series CPAP system provides
                        performance and value in an extremely small size. It features the illuminated, menu-driven LCD
                        display, universal power supply, stable pressure output, and ultra quiet operation. The compact
                        size with these user-friendly features makes XT series CPAP the best choice for OSA patients.
Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                 Page 98 of 109 PageID 109
                                                                                                                                  XT series 3




        Compact Size
        Palm-size design makes it easy to be packed
        into carry-on luggage.



                                                                     60
                                                                     50                                                60

                                                                     40
                                                                                 XT Noise Level          40
                                                                     30

                                                                     20
                                                                                            20
                                                                     10
                                                                                 10
                                                                      0
                                                                           Breathing     Whispering   Very Quiet     Normal
                                                                                                      Residence    Conversation




                                      Built-in Power Supply         Ultra Quiet Operation
                   No need to carry an extra external power         The delicate technical design ensures an ultra quiet
                         supply, which is perfect for travel.       noise level during operation.




        Easy-to-Use Interface
        The LCD display with backlit is clear to read,                    Flow
        and the intuitive user interface is easy to use.




                                                                            0

                                                                    Pressure




                                                                            0




                                                   SD Card          Enhanced Pressure Stability
      The SD card provides a simple way to record patient’s         The enhanced pressure stability avoids additional work
           data and remotely update the pressure setting.           of breathing and makes better patient synchrony.




   Features Overview

          Model                                            XT Fit   XT Sense                 XT Prime                XT Auto

          Auto-Adjusting Pressure                           -         -                           -

          PVA Pressure Relief Function                      -         -

          Ramp Starting Pressure

          Auto Altitude Adjustment                      (Manual)

          Leak Compensation

          Low Pressure Alarm                                -

          Data Collection by SD Card                        -

          Efficacy Reporting (AHI, Leak)                    -         -

          Compliance Reporting

          Remote Update of Pressure Setting                 -         -

          Clock/Alarm Function                              -

          Integrated Heated Humidifier
     Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                                                                                    Page 99 of 109 PageID 110
Apex Medical Corp.




    PVA Pressure Variation Algorithm
    The PVA Pressure Variation Algorithm is a technology designed to provide relief to patients who experience CPAP pressure
    discomfort by reducing pressure at the start of exhalation and return to the prescribed pressure at the commencement of
    inhalation.
    Pressure can be reduced by three different level settings, allowing the delivery of prescribed pressure at a time when the
    patient needs it most without compromising comfort and compliance. The PVA technology is available on CPAP and APAP
    modes.

                                                          Inspiration




                             Patient Flow
                                                                                                                                                                                         1
                                                                                                                                                                                         Reduce pressure during the
                                                                                                                                                                                         transition from Inspiration to
                                                                                                                                                                                         Expiration.
                                                                               Expiration



                                                                                                                                                                                         2
                                                                        1                             3
                                         10 cmH2O                              2
                                                                                                                                                                                         Maintain lower pressure level
                                                                                                                                                                                         (depending on the PVA setting)
                                                                            9 cmH2O

                                                                            8 cmH2O
                                                                                                                                                                                         during Expiration phase.
                             CPAP Pressure

                                                                            7 cmH2O
                                                                                                           C1= 1 cmH2O
                                                                                                                                                                                         3
                                                                                                           C2= 2 cmH2O

                                                                                                           C3= 3 cmH2O                                                                   Return to therapeutic pressure
                                                                                                                                                                                         in the end of Expiration phase.

                                                     PVA and apnea detection
                                                     In order to ensure the effectiveness of CPAP therapy, PVA will be automatically suspended if apneas
                                                     are detected. After apneas disappear, PVA will re-start.




    Auto-adjusting Algorithm
    The APEX clinically approved auto-CPAP device employs proprietary, precision algorithms to optimize treatment by adjusting
    air pressure to the lowest, most comfortable levels, while still maintaining effective, appropriate therapy. Clinical trials have
    consistently demonstrated how the APEX auto-CPAP can reduce AHI levels below 5.0 and increase SpO2 levels above 95%,
    while allowing patients to rest comfortably throughout the night.
                                                                                                                                                            Titration Pressure (cmH2O)




                       100      77.82±20.96                                                                100                                                                           20
                                                                                                                  90.70±6.95                96.80±1.23                                                                    13.70±3.65
                                                                                                                               95.80±1.14
                                                                                        SPO2 average (%)
    AHI (numbers/hr)




                        75                                                                                                                                                               15     10.90±3.25   11.30±2.16
                                                                                                            95

                        50                                                                                                                                                               10

                                                                                                            90
                        25                                                                                                                                                                5

                                              3.92±2.97     3.25±3.82

                         0                                                                                  85                                                                            0




    * T is a leading company of CPAP products.
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                                                                                XT series 5




Easy Compliance Software:
meeting the demands for Retrieving
Comprehensive Sleep Data
The SD card is a simple, secure and effective way to
access patients’ compliance and data. Retrieving
the patient’s recorded sleep data is simple and
efficient. The Easy Compliance Software produces
comprehensive reporting and mapping information
for clinicians and home care providers to understand
the needs of their patients.


Efficacy and usage compliance data are key factors
in determining therapy solutions. The Apex XT series
CPAP has been designed to provide an easy-to-use
interface for the professional, which will improve
patient outcomes, communicate the benefits of this
clinically effective technology and reduce follow-up
costs.
   Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                          Page 101 of 109 PageID 112
Apex Medical Corp.




                     XT Heated Humidifier
                        XT Heated Humidifier is integrated with XT series CPAP system. It has 6 heating levels to provide
                        the most optimal humidification according to individual needs. The large reservoir capacity
                        ensures sufficient humidification for 8 hour sleep.
Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                                               Page 102 of 109 PageID 113
                                                                                                                                                                           XT series 7




      Specifications

         Model                                                         XT Fit                         XT Sense                       XT Prime                     XT Auto

         Power Supply                                                                         100 - 240V, 50 / 60Hz, Universal power supply

         Dimension ( W x D x H )                                                                5.8” x 5” x 3.9” ( 14.8 cm x 12.8 cm x 10 cm )

         Weight                                                                                                1.76 lb ( 800 g )

         Pressure Range ( cmH2O )                                                                    4.0 - 20.0 ( 0.5 cmH2O increment )

         Ramp Time ( min )                                                                               0 - 45 ( 5 min increments )

         Sound Level ( ISO17510-1 )                                                                                28 dBA

         Data Storage : Summary Data                                    N/A                        730 sessions                    730 sessions                730 sessions
                                                                                                                                   18 sessions                  18 sessions
                         Efficacy Data ( AHI, Leak )                    N/A                              N/A                ( or cumulative 72 hours )    ( or cumulative 72 hours )




         Model                                                           XT Heated Humidifier

         Power Supply                                                    100V - 240V, 50 / 60Hz, Universal power supply

         Dimensions ( L x W x H )                                        10” x 6.8” x 5.8” ( 25.5 cm x 17.2 cm x 14.6 cm )

         Weight                                                          1.37 lb ( 620g )

         Reservoir Capacity                                              450ml

         Humidity Output ( ISO 8185 )                                    ≥ 10 mgH2O / L

         Max. Heater Plate Temperature                                   70°C ( 158°F )




      Ordering Information ( For North America Only )

                                             XT Fit                                                                  XT Sense
                                          CPAP Device Only          Core Package                                  CPAP Device Only          Core Package
                                                                    (Includes heated humidifier)                                            (Includes heated humidifier)
          Description                     Order No.                 Order No.                                     Order No.                 Order No.

          US Plug                         SF01101                   SC01101                                       SF02101                   SC02201




                                             XT Prime                                                                XT Auto
                                          CPAP Device Only          Core Package                                  CPAP Device Only          Core Package
                                                                    (Includes heated humidifier)                                            (Includes heated humidifier)
          Description                     Order No.                 Order No.                                     Order No.                 Order No.

          US Plug                         SF03101                   SC03201                                       SF04101                   SC04201




          Accessories                                               Accessories

          SF00001              6’ CPAP Tubing                       SF00013                 DC to AC Inverter, 12V (US Plug)
          SF00002              SD Card                              SH00001                 Water Chamber
          SF00003              Filter (5 per pk)
          SF00006              Carrying Bag
          SF00008              USB Cable

      Package includes a carrying bag, 6’ tubing, power cord, SD card, USB cable and a user manual.
      (XT Fit doesn’t include SD card and USB cable ; XT Sense doesn’t include USB cable)
Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21           Page 103 of 109 PageID 114



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Apex Medical France SAS
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Pays De La Loire, France
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info.france@apexmedicalcorp.com



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F +662 948 4170
sales.thai@apexmedicalcorp.com                                                    www.apexmedicalcorp.com
Apex Medical Corp.                                                                                                                                                          Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                             Page 104 of 109 PageID 115                                                                                   iCH Series
                                                                                                                                                                                                                                                                                                                                                                                      iC




                                                                                                                                                                           HEADQUARTERS
         PVA Pressure Variation Algorithm                                                                                                                                  Apex Medical Corp.
                                                                                                                                                                           No. 9, Min Sheng St., Tu-Cheng,
         The PVA Pressure Variation Algorithm is a technology designed to provide relief to patients who experience CPAP pressure                                          New Taipei City, 23679, Taiwan
         discomfort by reducing pressure at the start of exhalation and return to the prescribed pressure at the commencement                                              T +886 2 2268 5568
                                                                                                                                                                           F +886 2 2268 6525
         of inhalation. Pressure can be reduced by three different level settings, allowing the delivery of prescribed pressure at a                                       marketing@apexmedicalcorp.com

         time when the patient needs it most without compromising comfort and compliance. The PVA technology is available on
         CPAP and APAP modes.
                                                                                                                                                                           PAN-ASIA                                                 EUROPE                                    AMERICA
                                                                                                               1    Reduce pressure during the transition from             TAIWAN                                                   SPAIN                                     USA
                                       Inspiration

                                                                                                                    Inspiration to Expiration.                             Apex Medical Corp.                                       Apex Medical S.L.                         Apex Medical USA Corp.
                                                                                                                                                                           No. 9, Min Sheng St., Tu-Cheng,                          Elcano 9, 6 a planta 48008                927 Mariner Street,
                                                                                                               2    Maintain lower pressure level (depending on            New Taipei City, 23679, Taiwan                           Bilbao. Vizcaya. Spain                    Brea, CA 92821, USA
                 Patient Flow
                                                                                                                    the PVA setting) during Expiration phase.              T +886 2 2268 5600 /0800 054 133                         T +34 94 4706408                          T +1 714 671 3818
                                                                                                                                                                           F +886 2 2268 6526                                       F +34 94 4706409                          F +1 714 494 8173
                                                                                                               3    Return to therapeutic pressure in the end of           customer@apexmedicalcorp.com                             info@apexmedical.es                       sales.usa@apexmedicalcorp.com
                                                                                                                    Expiration phase.
                                                        Expiration
                                                                                                                                                                           CHINA                                                    UK
                                                                                                                                                                           Apex Medical (Kunshan) Corp.                             Apex Medical Limited
                                                 1
                                                                                                                                                                           No. 1368, ZiZhu Road, Kunshan,                           Unit 21, Optima Park, Thames Road,
                                                                     3
                            10 cmH2O                    2                                                                                                                  Jiang Su Province, China                                 Crayford, Kent DA1 4QX
                                                                                                              PVA and apnea detection                                      T +86 512 8617 1660 Ext 1150                             T +44 (0) 132 2520 560
                                                     9 cmH2O

                                                                                                              In order to ensure the effectiveness of CPAP ther-           F +86 512 8617 8663                                      F +44 (0) 132 2554 182
                 CPAP Pressure                       8 cmH2O
                                                                                                                                                                           customer.cn@apexmedicalcorp.com                          enquiry@apexmedicalcorp.co.uk
                                                     7 cmH2O
                                                                         C1= 1 cmH2O                          apy, PVA will be automatically suspended if ap-
                                                                         C2= 2 cmH2O

                                                                         C3= 3 cmH2O
                                                                                                              neas are detected. After apneas disappear, PVA               INDIA                                                    FRANCE
                                                                                                              will re-start.                                               Apex Medicalcorp India Pvt. Ltd.                         Apex Medical France SAS
                                                                                                                                                                           303, Third Floor Block 4A DLF                            8 Blvd. de l’Epervière,
                                                                                                                                                                           Corporate Park Phase-ill,                                49000 Écouflant,
                                                                                                                                                                           Gurgaon, Haryana                                         Pays De La Loire, France

         Effective Auto Algorithm: Reduce AHI & Improve SpO2 via                                                                                                           T +91 11 6654 4138
                                                                                                                                                                           F +91 11 6654 4052
                                                                                                                                                                                                                                    T +33 2 72 79 27 13
                                                                                                                                                                                                                                    F +33 2 85 73 07 67
                                                                                                                                                                           enquiries.india@apexmedicalcorp.com                      info.france@apexmedicalcorp.com
         strict clinical proof
                                                                                                                                                                           THAILAND                                                 GERMANY
         * Koji Narui, et al., ASRS. 2012. Sleep Center, Toranomon Hospital, Tokyo, Japan
                                                                                                                                                                           Apex Medical Thailand                                    SLK Vertriebsgesellschaft mbH
                                                                                                                                                                           65/100 Chamnanphenjati Business Center Bldg.             Lindenhorster Straße 38-40 44147
                                 90                                                                           100                                                          11/F Rama 9 Road, Huaykwang                              Dortmund
                                                                                                                                                                           Bangkok 10320                                            T +49 (0)231-925360-175
                                 80                                                                            95                                                          T +662 948 4848                                          F +49 (0)231-925360-29
                                 70
                                                            AHI was signiﬁcantly                                                                MinSpO2 was signiﬁcantly   F +662 948 4170                                          info@slk-gmbh.de
                                                                                                               90
                                                            decreased from 44.0 ±                                                               improved from 80.7 ± 4.9   sales.thai@apexmedicalcorp.com                           www.slk-gmbh.de
                                 60
                                                            16.5 to normal range of                            85                               % to 92.3 ± 3.7 %
                                 50
                                                            1.7 ± 1.6                                          80                                                          MIDDLE EAST • AFRICA
                                 40                                                                                                                                        29, Misr Liltameer Building,
                                 30

                                 20
                                                                                                               75

                                                                                                               70

                                                                                                               65
                                                                                                                                                                           Stree#10, AREA#8, Sheraton Building, Heliop-
                                                                                                                                                                           olis Cairo, Egypt.
                                                                                                                                                                           T +202 2 2671303
                                                                                                                                                                           F +202 2 2678649
                                                                                                                                                                                                                                                                                                              iCH series
                                                                                                                                                                                                                                                                                                              Continuous Positive Airway Pressure
                                 10
                                                                                                                                                                           raafat.wahby@apexmedicalcorp.com
                                  0                                                                            60
                                       AHI-Pre AHI-onCPAP                                                              SpO2-Pre   SpO2-onCPAP
                                                                                                                                                                                                                                                                                                              Providing comfortable and flexible therapy modes, the iCH series
                                                                                                                                                                                                                                                                                                              CPAP system with it’s stylish and attractive design is the perfect
                                                                                                                                                                                                                                                                                                              partner to support you and your prescribed treatment goals. The
                                                                                                                                                                             Distributed by                                                                                                                   integrated heated humidifier provides comfortable, quiet and
                                                                                                                                                                                                                                                                                                              reliable therapy and for people on the move, this CPAP therapy
                                                                                                                                                                                                                                                                                                              system is lightweight, compact and very sleek. The iCH is a CPAP
                                                                                                                                                                                                                                                                                                              that doesn’t look like a CPAP; its elegant design allows you to place
                                                                                                                                                                                                                                                                                                              it anywhere in your home.

                                                                                                                                                                           Print-2018/02
                                                                                                                                                                           All rights reserved Specifications may change without notice.
                      Easy assembly and disassem-                                      Clear backlit LCD display and                 Small footprint to be easily
                      bly of the water chamber with a                                  intuitive user interface for easy             packed into carry-on luggage
                                                                                                                                                                           www.apexmedicalcorp.com
                      simple hook and lock design                                      operation
Apex Medical Corp.                                                                                                                               Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                           Page 105 of 109 PageID 116                                                                                                                                            iCH series




                                                                                                                                                     iCH Integrated CPAP with Heated Humidifier                                                                       Easy Compliance Software: meeting the demands
                                                                                                                                                     ■ Anti back-flow mechanism preventing water spillage.
                                                                                                                                                                                                                                                                      for Retrieving Comprehensive Sleep Data
                                                                                                                                                                                                                                                                      The SD card is a simple, secure and effective way to access patients’ compliance and data. Retrieving
                                                                                                                                                     ■ SD card and USB connection for data retrieval.                                                                 the patient’s recorded sleep data is simple and efficient. The Easy Compliance Software produces
                                                                                                                                                                                                                                                                      comprehensive reporting and mapping information for clinicians and home care providers to understand
                                                                                                                                                     ■ Enhanced algorithm for improved compliance.                                                                    the needs of their patients.
                                                                                                                                                                                                                                                                      Efficacy and usage compliance data are key factors in determining therapy solutions. The Apex XT series
                                                                                                                                                     ■ Stylish, high-quality design.                                                                                  CPAP has been designed to provide an easy-to-use interface for the professional, which will improve patient
                                                                                                                                                                                                                                                                      outcomes, communicate the benefits of this clinically effective technology and reduce follow-up costs.
                                                                                                                                                     ■ Lightweight and compact.

                                                                                                                                                     ■ Extremely quiet and discreet.




                                                                                                                                                     Features Overview                                                                                                Specifications

                                                                                                                                                            Model                                             iCH Sense            iCH Prime             iCH Auto         Model                                               iCH Sense/iCH Prime/iCH Auto

                                                                                                                                                            Auto-Adjusting Pressure                              -                    -                                   Pressure Range (cmH2O):                             4.0 - 20.0 (0.5 cmH2O increment)

                                                                                                                                                                                                                                                                          Ramp Time (min):                                    0-45 (5 min increment)
                                                                                                                                                            PVA Pressure Relief                                  -
                                                                                                                                                                                                                                                                          Ramp Starting Pressure (cmH2O):                     4.0 to Therapy pressure (0.5 cmH2O increment)
                                                                                                                                                            Compliance Information on Display                    -
                                                                                                                                                                                                                                                                          Data Storage:                                       730 summary sessions
                                                                                                                                                            Efficacy Reporting (AHI, Leak)                       -
                                                                                                                                                                                                                                                                                                                              18 detailed sessions (not available for iCH Sense)
           Holistic Healthcare Formula                                                                                                                      Compliance Hours Reporting                                                                                    Sound Level:                                        ≤28 dBA



           [Compliance] +[Elegance]=Lifestyle           3                                                                                                   Leak Compensation                                                                                             Humidification:                                     Patient-adjustable; 6 settings

                                                                                                                                                            Low Pressure Alarm                                                                                            Water Capacity:                                     300 ml

                                                                                                                                                            Dual Downloading Ports (SD cards & USB cable)                                                                 Dimensions (W x D x H):                             6.5" x 7.8" x 6.9" (16.5 cm x 19.7 cm x 17.4 cm)
                     The launch of the iCH series CPAP by Apex introduces a modern and exciting concept: The Holistic Healthcare Formula
                                                                                                                                                                                                                                                                          Weight:                                             2.51 lbs (1.14kg )
                     [Compliance]3+[Elegance]=Lifestyle                                                                                                     Auto Altitude Adjustment
                                                                                                                                                                                                                                                                          Power Supply:                                       AC: 100V-240V, 50/60Hz, universal power supply
                                                                                                                                                            Clock/Alarm Function
                                      3
                     [Compliance]                                                                                                                                                                                                                                                                                             DC: 24V
                                                                                                                                                            Easy Gateway Adapter(Compatible)                     -
                     An alternative definition to enhance the improvement of CPAP therapy and improve the patient’s well-being is no longer a                                                                                                                             Operating Range:                                    +5 °C to +35 °C (+41 °F to +95 °F) ; 15% to 95%RH non-condensing
                     myth. Upholding the advancement of patient’s lifestyles and improving clinical conditions, iCH compliance technology has:                                                                                                                            Storage Range:                                      -15 °C to +50 °C (+5 °F to +122 °F) ; 10% to 90%RH non-condensing
                     1. Stable and precise pressure output    2. PVA pressure relief technology   3. Efficient humidification delivery                                                                                                                                    EN60601-1 Classification:                           Class II, Type BF, IP21, IEC 60601-1-2 EMC Compatibility
                                                                                                                                                                                                                                                                          *Measured in accordance with ISO 17510 & ISO 8185

                     [Elegance]                                                                                                                      Easy to use                                                                                                          *Pressure stability and humidity output specifications in compliance with German Heil & Hilfsmittel Verzeichnis


                     The iCH CPAP system has been designed to merge effortlessly into your life and your home. Stylish and aesthetically
                     appealing, iCH CPAP therapy promotes psychological and social confidence in the provision of effective therapy.                 ■ Compliance information on display                                                                              Ordering Information ( For North America Only )
                                                                                                                                                        » Statistics Period (Last night, 7 days, 30days, 90 days)
                     Simple and functional when delivering compliance; iCH enhances all aspects of the Holistic approach, enabling freedom                                                                                                                             REF No.       Product Descriptions                     Accessories
                     in lifestyle and improved quality of life.                                                                                         » Total compliance hours , Average compliance hours per day , Compliance Days>4hrs, AHI , Average pressure,
                                                                                                                                                          Average leak rate                                                                                            SF07109       iCH Auto and SD card                     SH00002        Water chamber
                                                                                                                                                                                                                                                                       SF06109       iCH Prime and SD card                    SF00001        6＇CPAP Tubing
                                                                                                                                                                                                                                                                       SF05109       iCH Sense and SD card                    SF00002        SD card
                                                                                                                                                     ■ Hidden handle for easy pick-up and carry
                                                                                    Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                 Page 106 of 109 PageID 117




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                                                                                                                                               Serene Air
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T +662 948 4848
                                                                                                                                               True Low Air Loss and Alternating Pressure
F +662 948 4170
sales.thai@apexmedicalcorp.com                                                                                                                 Redistribution System
                                                                                                                                               Suitable for vulnerable patients with high to very high risk for pressure ulcers

MIDDLE EAST • AFRICA                                                                                                                           True low air loss for patients’ upmost comfort
29, Misr Liltameer Building,
Stree#10, AREA#8, Sheraton Building, Heliop-                                                                                                   A high performance blower provides >120 lpm of air loss from mattress for effective microclimate control
olis Cairo, Egypt.
                                                                                                                                               Maximum patient weight up to 920lb (48” mattress)
T +202 2 2671303
F +202 2 2678649
raafat.wahby@apexmedicalcorp.com



                                                                                     Distributed by                                                  M

                                                                                                                                                                                              920lb
                                                                                                                                                 L       H




                                                                                                                        Print-2019 /03-500
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  Apex Medical Corp.                                                                          Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                                        Page 107 of 109 PageID 118                                                                                                          Serene Air




                                                              Serene Air                                                                    15sec
                                                                                                                                                                            Pressure Relief During Alternating
                                                              True Low Air Loss and                                                                                         Pressure mapping reveals that in alternating mode,
                                                                                                                                                                            bladder A & B take turns to inflate and deflate can
                                                              Alternating Pressure                                                                                          significantly relieve the body pressure


                                                              Redistribution
                                                                                                    Pulsation Mode       Periodically increase and decrease the whole

                                                              System
                                                                                                    mattress air volume every 15 seconds to encourage lymph and
                                                                                                    blood flow to accelerate oxygenation.




                            Easy Storage                                                                                            Visual and Audible Alarm            6 Modes to Fulfill Individual Needs
                            With snap fit buckle strap, the                                                                         Low Pressure                         Max Firm         Alternating
                            system can be wrapped into a                                                                            Power Failure
                                                                                                                                                                           Continuous Low Pressure (CLP)
                            compact size for storage                          Ventilated Low Air Loss                               Tech Support
                                                                                                                                                                           Seat Inflation w/ Alternating
                                                                              Wicks moisture away to keep
                                                                                                                                    True Low Air Loss with
                                                                              the patient comfortable                                                                      Seat Inflation w/ CLP
                                                                                                                                    Blower System
                                                                                                                                                                           Pulsation mode




                                                                                                                                                                                                                                                         4 Cycle time                                      10 Comfort Levels
                                                                                                                                                                          Specification
                                                                                                                                                                              Model                                               Serene Air
                                                                                                                               Carrying bag                                                    Dimension                          12.3” x 10.2” x 6.3” / 31.2 x 26 x 16 cm
                                                                                                                                                                              Pump
                                                                                                                               A handy carrying bag is
                                                                                                                               provided with each system                                       Weight                             11.0 lb / 5.0 Kg
                                                                                                                                                                                               Case Material                      Flame retardant ABS
                                                                                                                                                                                               Supply Voltage                     AC 110-120V 60Hz, 4.5A
                                                                                                                                                                                               Operating Cycle                    5/10/15/20 min. selectable
                                                                                                                                                                              Mattress                                            8’’ Mattress with 2” Foam pocket (Foam is not included)
Zipper-all-Around Cover                                                                                                                                                                        Dimension                          78.7” x 35.4” x 8”     78.7” x 42” x 8”             78.7” x 48” x 8”
With two way zipper reduce
ingress of unwanted fluid and                                                                                                                                                                                                     200 x 90 x 20.3 cm     200 x 107 x 20.3 cm 200 x 122 x 20.3 cm
simply one step to remove for                                                                                                                                                                  Cell Height                        8” x 20 cells          8” x 22 cells                8” x 26 cells
cleaning
                                                                                                                                                                                               Weight                             16.5 lb / 7.5 Kg       18.8 lb / 8.5 Kg             21.0 lb / 9.5 Kg
                                                                                                                                                                                               Material                           Cover: 4–Way Stretch; Cell: Nylon/TPU; Base: Nylon/PU
                                                                                                                                                                                               Maximum Patient Weight             400 lb/ 200 kg         650 lb/ 320 kg               920 lb/ 450 kg

                             4-Way Stretch PU Cover                                                                                                                                            Flame Retardant Standards          EN 597-1 & EN 597-2
                             Fluid resistant, low shear and vapor                                                                                                             HCPCS code                                          E0277
                             permeable helping protect this skin
                                                                                                                                                                                                                                                         Specifications are subject to change for improvement without notice
                             from friction and moisture
                                                                                                                                                                            Ordering Information (For North America Only)
                                                                                                                                                                              Model                                               Serene Air
                                                                                                                                                                                                                                  36”                    42”                          48”
Water Resistance Flame Resistance Biocompatibility                                                                                                                            System           With Stretch Cover                 PL01601                PL01603                      PL01605
                                                                    Power Outage Protection            Cable Management             CPR
                                                                    System includes individual         For a safety                 Quickly deflate the                                        With Quilted Cover                 PL01602                PL01604                      PL01606
                                                                    air cells over a 2" foam base      operational                  mattress during                           Mattress         With Stretch Cover                 PM10401                PM10501                      PM10601
Fungistatic      4-Way Stretch     Vapour Permeable
                                                                    pocket for power outage            environment                  emergencies
                                                                    protection                                                                                                                 With Quilted Cover                 PM10402                PM10502                      PM10602
                                                                    (Foam is not included)                                                                                    Pump                                                                       PL01001
Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                Page 108 of 109 PageID 119



                                       NO. 348-322690-21

  MARIA OLGA CASTILLO                            §     IN THE DISTRICT COURT
                                                 §
  Plaintiff,                                     §
                                                 §
                                                 §
  V.                                             §     348TH JUDICIAL DISTRICT
                                                 §
                                                 §
  WALMART    STARCO,    LLC,                     §
  WALMART STORES TEXAS, LLC,                     §
  APEX MEDICAL USA CORP.,                        §
  APEX MEDICAL CORP., CAREX                      §
  HEALTH BRANDS, INC., and                       §
  COMPASS HEALTH BRANDS                          §
                                                 §
  Defendants.                                    §     OF TARRANT COUNTY, TEXAS

       PLAINTIFF’S MOTION FOR PARTIAL NONSUIT WITH PREJUDICE AS TO
                 DEFENDANT APEX MEDICAL USA CORP. ONLY

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Maria Olga Castillo, Plaintiff in the above-styled and numbered cause,

and files this Motion for Partial Nonsuit with Prejudice as to her claims against Defendant Apex

Medical USA Corp., and would show unto the Court the following:

        Plaintiff, Maria Olga Castillo, no longer wishes to pursue her causes of action against

Defendant Apex Medical USA Corp., and asks the Court to enter a nonsuit on all claims against

Defendant Apex Medical USA Corp., with prejudice.

        This non-suit does not extend to or affect the remaining Plaintiff’s claims against the

remaining Defendants.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Court grant this

Motion for Nonsuit, dismiss Defendant Apex Medical USA Corp., from the above-styled and

numbered cause with prejudice to the rights of either party, and for such other and further relief,


 PLAINTIFF’S MOTION FOR NONSUIT OF DEFENDANT APEX MEDICAL USA CORP.                             1
Case 4:21-cv-00125-O Document 1-3 Filed 02/05/21                 Page 109 of 109 PageID 120



at law or in equity, to which she may justly be entitled.



                                              Respectfully submitted,


                                              By: /s/ James M. Murrell
                                              Jim R. Ross
                                              State Bar No. 24010362
                                              James M. Murrell
                                              JIM ROSS LAW GROUP, P.C.
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                                              Attorneys for Plaintiff
                                              Maria Castillo


                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served via electronic service on all parties of record on February 1, 2021.

                                                      /s/ James M. Murrell
                                                      James M. Murrell




 PLAINTIFF’S MOTION FOR NONSUIT OF DEFENDANT APEX MEDICAL USA CORP.                        2
